Case 1:25-cv-10495-IT   Document 84-2   Filed 04/04/25   Page 1 of 24




         EXHIBIT B
Plaintiffs’ Notice of Supplemental Authority
                Doe et al. v. Noem et al.
            1:25-cv-10495-IT (D. Mass.)
             Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                Document 84-2          Filed 04/04/25           Page 2 of 24



                     2025 WL 655075                             plaintiffs had Article III standing;
      Only the Westlaw citation is currently available.
      United States District Court, W.D. Washington,            plaintiffs were likely to succeed on the merits of their
                         at Seattle.                            argument that the executive order was ultra vires;

                                                                challenged agency actions were discrete and final actions
       Plaintiff PACITO; Plaintiff Esther;
                                                                reviewable under the APA;
   Plaintiff Josephine; Plaintiff Sara; Plaintiff
    Alyas; Plaintiff Marcos; Plaintiff Ahmed;                   challenged agency actions were invalid under the APA
   Plaintiff Rachel; Plaintiff Ali; HIAS, Inc.;                 because they exceeded agencies' statutory authority under
                                                                the Immigration and Nationality Act (INA) and were not in
   Church World Service, Inc., and Lutheran                     accordance with law;
   Community Services Northwest, Plaintiffs,
                        v.                                      plaintiffs were likely to succeed on the merits of argument that
                                                                agencies' suspension of activities under USRAP was invalid
  Donald J. TRUMP, in his official capacity as
                                                                under the APA because agencies did not engage in notice-and-
 President of the United States; Marco Rubio, in                comment rulemaking;
 his official capacity as Secretary of State; Kristi
                                                                plaintiffs were not likely to succeed on the merits of their
    Noem, in her official capacity as Secretary
                                                                argument that agencies' suspension of federal funding to
   of Homeland Security; Robert F. Kennedy,                     resettlement agencies was invalid under the APA for agencies'
    Jr., in his official capacity as Secretary of               failure to engage in notice-and-comment rulemaking;
     Health and Human Services, Defendants.
                                                                plaintiffs were likely to succeed on the merits of their
                                                                argument that agencies' actions were invalid under the APA
                CASE NO. 2:25-cv-255-JNW
                                                                because they were arbitrary and capricious;
                            |
                 Signed February 28, 2025
                                                                refugees were likely to succeed on the merits of claim that
Synopsis                                                        order and certain agency actions violated their rights to
Background: Refugees and former refugees living abroad          procedural due process;
and in the United States, along with resettlement agencies
that provided services to refugees, sued President and          plaintiffs experienced or were faced with irreparable harm;
Secretaries of State, Homeland Security, and Health and
Human Services, challenging executive order that indefinitely   the balance of equities and public interest favored plaintiffs;
suspended activities under the United States Refugee            and
Assistance Program (USRAP) and agency actions, including
the suspension of all refugee arrivals to the United States     a nationwide injunction was warranted to provide plaintiffs
and the suspension of funding to resettlement agencies, taken   complete relief.
before and after order's effective date, alleging that the
executive order was ultra vires, that the agencies' actions
                                                                Motion granted.
were invalid under the Administrative Procedure Act (APA),
and that the order and certain agency actions violated
refugees' procedural due-process rights. Plaintiffs moved for   Attorneys and Law Firms
a preliminary injunction.
                                                                Deepa Alagesan, Pro Hac Vice, Ghita Schwarz, Pro Hac Vice,
                                                                Linda B. Evarts, Pro Hac Vice, Mevlude Amina Akay Alp,
                                                                Pro Hac Vice, International Refugee Assistance Project, New
Holdings: The District Court, Jamal N. Whitehead, J., held
                                                                York, NY, Esme Aston, Jonathan Patrick Hawley, Shireen
that:


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             Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                 Document 84-2           Filed 04/04/25            Page 3 of 24


Lankarani, Harry H. Schneider, Jr., Perkins Coie, Seattle, WA,    Program (USRAP)] be suspended” indefinitely pending a
Joel Wayne Nomkin, Pro Hac Vice, Perkins Coie, Phoenix,           determination by the President that “resumption of entry of
AZ, John M. Devaney, Pro Hac Vice, Laurie Ball Cooper,            refugees into the United States under the USRAP would
Pro Hac Vice, Megan McLaughlin Hauptman, Pro Hac Vice,            be in the interests of the United States.” This action
Perkins Coie, Washington, DC, Melissa S. Keaney, Pro Hac          fulfilled the President's campaign promise to “suspend
Vice, International Refugee Assistance Project, Fair Oaks,        refugee resettlement” as part of efforts to “immediately end
CA, Nicholas James Surprise, Pro Hac Vice, Perkins Coie           the migrant invasion of America.” The order halts, without
LLP, Madison, WI, for Plaintiffs Pacito, Esther, Josephine,       a defined end date, the carefully constructed framework
Sara, Alyas, Marcos, Ahmed, Rachel, Ali, HIAS Inc., Church        Congress established through the Refugee Act of 1980.
World Service Inc.                                                The Court must determine whether this executive action
                                                                  exceeds statutory bounds, and whether the federal agencies’
Deepa Alagesan, Pro Hac Vice, Ghita Schwarz, Pro Hac              implementation of the Order comports with administrative
Vice, Linda B. Evarts, Pro Hac Vice, International Refugee        law.
Assistance Project, New York, NY, Esme Aston, Jonathan
Patrick Hawley, Shireen Lankarani, Harry H. Schneider, Jr.,       After carefully reviewing the Parties’ briefing and holding a
Perkins Coie, Seattle, WA, Joel Wayne Nomkin, Pro Hac             hearing on the matter, the Court granted Plaintiffs’ motion
Vice, Perkins Coie, Phoenix, AZ, John M. DeVaney, Pro Hac         and issued a preliminary injunction on February 25, 2025.
Vice, Laurie Ball Cooper, Pro Hac Vice, Megan McLaughlin          Dkt. No. 39. This Order is to elucidate the Court's reasoning
Hauptman, Pro Hac Vice, Perkins Coie, Washington, DC,             and define the parameters of the injunction further. In
Melissa S. Keaney, Pro Hac Vice, International Refugee            sum, though the Executive enjoys considerable latitude to
Assistance Project, Fair Oaks, CA, Nicholas James Surprise,       suspend refugee admissions, that discretion is not boundless.
Pro Hac Vice, Perkins Coie LLP, Madison, WI, for Plaintiff        Where, as here, Presidential action effectively nullifies a
Lutheran Community Services Northwest.                            congressionally established program, causing irreparable
                                                                  harm to vulnerable individuals and organizations, judicial
Alexandra Lee Yeatts, August Flentje, Joseph McCarter,
                                                                  intervention becomes necessary to preserve the separation of
Lindsay Zimliki, Nancy K. Canter, U.S. Department of
                                                                  powers our Constitution demands.
Justice, Washington, DC, for Defendants.

Cristina Sepe, Emma S. Grunberg, Kelly A. Paradis,
Attorney General's Office, Olympia, WA, for Amicus State of       2. BACKGROUND
Washington.
                                                                  2.1 Refugee admission in the United States.
Tasha J. Bahal, Pro Hac Vice, Office of the Massachusetts         Congress amended the Immigration and Nationality Act
Attorney General, Boston, MA, Emma S. Grunberg, Kelly A.          (INA) through the Refugee Act of 1980 to provide
Paradis, Attorney General's Office, Olympia, WA, for Amicus       a “permanent and systematic procedure” for refugee
Commonwealth of Massachusetts.
                                                                  admissions.1 Pub. L. No. 96-212, § 101, 94 Stat. 102 (1980).
                                                                  In passing the Refugee Act, Congress found that “it is the
                                                                  historic policy of the United States to respond to the urgent
FINDINGS OF FACT, CONCLUSIONS OF LAW, AND                         needs of persons subject to persecution in their homelands.”
ORDER ISSUING PRELIMINARY INJUNCTION                              Id. Under the Refugee Act, “[a]dmissions ... shall be allocated
                                                                  among refugees of special humanitarian concern to the United
Jamal N. Whitehead, United States District Judge
                                                                  States.” 8 U.S.C. § 1157(a)(3).

1. INTRODUCTION                                                   1      A “refugee” is defined in relevant part as follows:
                                                                           [A]ny person who is outside any country of such
 *1 This case presents a challenge to the President's authority
                                                                           person's nationality or, in the case of a person having
to indefinitely suspend a statutory refugee program. Hours
                                                                           no nationality, is outside any country in which such
into his second term, President Trump issued Executive
                                                                           person last habitually resided, and who is unable or
Order 14163, “direct[ing] that entry into the United States                unwilling to return to, and is unable or unwilling
of refugees under the [United States Refugee Assistance                    to avail himself or herself of the protection of, that



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             Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                      Document 84-2         Filed 04/04/25           Page 4 of 24


         country because of persecution or a well-founded fear       Fed. Reg. 83,767 (Sept. 30, 2024). As of December 31, 2024,
         of persecution on account of race, religion, nationality,   nearly 30,000 refugees had been admitted. Dkt. No. 15-2 at 3.
         membership in a particular social group, or political
         opinion[.]                                                  Applying for admission to the United States as a refugee is a
       8 U.S.C. § 1101(a)(42).
                                                                     highly regulated process. “The first step for most individuals
The Refugee Act provides for the admission and resettlement          seeking refugee status is to register with the [UNHCR]
of refugees in the United States. See generally 8 U.S.C.             in the country to which they have fled.” Dkt. No. 15-1
§§ 1157, 1521–24. The government fulfills this statutory             (DOS webpage). To be eligible to apply for admission under
mandate through USRAP, which is jointly administered by              USRAP, “a refugee must either be referred to the program by
the Department of State (DOS), through its sub-agency                an authorized entity or group (such as UNHCR) or belong
the Bureau of Population, Refugees, and Migration (PRM);             to certain designated groups with common characteristics,
the Department of Homeland Security (DHS), through                   defined either by statute or by the State Department in its joint
its sub-agency U.S. Citizenship and Immigration Services             reports to Congress.” Dkt. Nos. 1 ¶ 47; 15-3 at 16–33 (USRAP
(USCIS); the Department of Health and Human Services                 report to Congress, submitted by DOS, DHS, and DHHS)
(DHHS), through its sub-agency the Office of Refugee                 (providing overview of procedures for refugee applications,
Resettlement (ORR); and through partnerships with the                vetting, processing, and admissions).
United Nations—in particular, the International Organization
for Migration (IOM) and United Nations High Commissioner             One such statutorily defined designated group is “Follow-
for Refugees (UNHCR); and nonprofit agencies that provide            to-Join” (“FTJ”) petitioners. See 8 U.S.C. § 1157(c)(2)(A).
case processing and refugee resettlement services.                   Under the FTJ program, if a refugee resettles in the United
                                                                     States but their unmarried, minor child or spouse remains
 *2 The Refugee Act creates a deliberate framework for               abroad, the resettled individual may apply for the admission
refugee admissions that balances presidential authority with         of the abroad family member as a refugee under USRAP. Id.
congressional oversight. While the President sets annual             (stating that spouse or child, if not inadmissible, “shall” be
refugee ceilings through “Presidential Determinations,”              entitled to refugee status).
this power operates within statutory constraints. See
8 U.S.C. § 1157(a)(3), (b), (d). The law requires                    DHS and DOS work cooperatively to process and adjudicate
“appropriate consultation” with Congress—specifically, in-           applications from eligible individuals. To facilitate the
person meetings with Judiciary Committee members where               application process, DOS enters “cooperative agreements”
the administration must justify proposed admission levels            with third-party, non-governmental Resettlement Support
and provide detailed information about anticipated impacts           Centers (RSCs). See Dkt. No. 1 ¶¶ 52–54. “RSC staff
and resettlement plans. See 8 U.S.C. § 1157(d) (“Oversight           pre-screen applicants for eligibility ... and prepare cases
reporting and consultation requirements.”); 8 U.S.C. §               for USCIS [by] ... assist[ing] applicants in completing
1157(e) (“ ‘Appropriate consultation’ defined”). Even when           documentary requirements and schedul[ing] USCIS refugee
increasing admission limits for humanitarian emergencies,            eligibility interviews.” Dkt. No. 15-3 at 30.
the President remains bound by these consultation
requirements. See 8 U.S.C. § 1157(d), (e). Further, Congress         Once DOS (through a cooperative agreement with an RSC)
directs the Executive to report on the admission of certain          has prepared an eligible individual to apply for refugee
groups of refugees that it has identified by statute, such           status, DHS (through USCIS) adjudicates the application.
as refugees fleeing North Korea. See 22 U.S.C. § 7845                See 6 U.S.C. § 271(b)(3); 8 C.F.R. §§ 207.1–207.7 (DHS
(contained within the subchapter “Protecting North Korean            implementing regulations). “A USCIS officer conducts an
Refugees”). This structure reflects Congress's intent that           inquiry of each principal refugee applicant designed to elicit
refugee admission decisions involve both political branches,         information about the applicant's claim for refugee status,
not unilateral executive action. See 8 U.S.C. §§ 1157(e) (3),        any grounds of inadmissibility, and factors related to the
(4).                                                                 exercise of discretion.” Dkt. No. 15-3 at 29. The USCIS
                                                                     officer investigates the applicant's activities, background,
In accordance with the Refugee Act, President Biden                  and criminal history, using extrinsic evidence to assess
determined that 125,000 refugees should be admitted in the           the applicant's credibility and claim. Id. “For derivative
2025 fiscal year. Presidential Determination No. 2024-13, 89



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             Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                Document 84-2           Filed 04/04/25           Page 5 of 24


applicants, the officer also asks questions to inform the       resettlement agency ensures that it, or its affiliates, will
decision of eligibility based on family relationships.” Id.     provide the refugee with initial services during the refugee's
                                                                first 90 days in the United States. Id. at 30, 33 (listing services
Throughout this process, DOS and DHS perform careful,           that resettlement agencies provide); see also 8 U.S.C. §
individualized security vetting. According to the most recent   1522(b)(7) (resettlement agencies’ statutory responsibilities);
Presidential report to Congress on USRAP, “Refugees are the     8 C.F.R. § 207.2(c).
most thoroughly screened and vetted group to enter the United
States.” Id. Refugee applicants undergo rigorous background     When it comes time for a refugee to move to the United
checks, as well as biometric checks for those within certain    States, the RSC refers the refugee's case to the International
age limits. Id. “Refugee applicants must have all required      Organization for Migration (IOM) to book their travel. Dkt.
security checks completed and fully addressed prior to an       No. 15-13 at 30. IOM funds this travel with an interest-free
applicant's admission to the United States as a refugee.” Id.   loan that the refugee is expected to pay back after they arrive
                                                                in the United States. Id. at 32; see e.g., Dkt. No. 15-14 ¶ 14
 *3 “Approval of a refugee application by USCIS outside         (“I confirmed with IOM on January 6 that I would ... pay for
the United States authorizes [Customs and Border Patrol] to     the plane ticket if needed, but they told me the way it works
admit the applicant conditionally as a refugee upon arrival     for refugees is that they pay for the ticket and I pay them back
at the port within four months of the date the refugee          after [the refugee] is in the United States.”).
application was approved.” 8 C.F.R. § 207.4. Once a refugee
has been conditionally approved by USCIS, “RSC staff            Once in the country, refugees receive statutorily authorized
guide the refugee through post-adjudication steps, including    support services—including employment training and
completing medical screening exams and attending cultural       placements, direct cash support, and English-language
orientation programs.” Dkt. No. 15-13 at 30; see also 8         training—from their sponsoring resettlement agency or its
C.F.R. § 207.2(b) (“medical examination as required by          affiliates. See generally 8 U.S.C. § 1522. Those agencies
sections 221(d) and 232(b) of the [Refugee] Act”). The RSC      use federal funding, private donations, and volunteer support
also arranges the applicant's mandatory, pre-entry cultural     to facilitate effective resettlement with the goal of placing
orientation. See Dkt. No. 15-3 at 30–32.                        “employable refugees ... on jobs as soon as possible after their
                                                                arrival” to cultivate “economic self-sufficiency.” See 8 U.S.C.
Like the application and adjudication process, the              § 1522(a)(1). These agencies also assist refugees in adjusting
transportation, admission, and resettlement processes are       their status to obtain permanent lawful residence within one
governed by a detailed statutory and regulatory scheme,         year of entry. See 8 U.S.C. § 1159 (“Adjustment of status of
jointly administered by PRM and ORR. See generally              refugees”); 8 C.F.R. § 209.1 (same).
8 U.S.C. §§ 1521–24. This scheme, like the application
scheme, relies on “cooperative agreements” with nonprofit
agencies, who receive federal funds from PRM to deliver         2.2 The USRAP EO's terms.
statutorily mandated resettlement services. See 8 U.S.C.        On January 20, 2025, President Trump signed Executive
§ 1522(b)(1)-(7). “In FY 2024, PRM funded cooperative           Order 14163, “Realigning the United States Refugee
agreements with ten non-profit resettlement agencies to         Admissions Program.” See Executive Order No. 14163, 90
provide initial resettlement services to refugees and Afghan    Fed. Reg. 8459 (Jan. 20, 2025) (“USRAP EO”). As the name
SIVs arriving in the United States pursuant to [statutory]      suggests, the EO purports to “realign” the entire statutory
authority.” Dkt. No. 15-3 at 32. “The resettlement agencies     refugee admissions system with the President's political
are responsible for providing initial reception and core        priorities. In two-and-a-half pages, the President indefinitely
services to arriving refugees.” Id. at 32–33. “These national   suspends all refugee admissions and directs the Secretary
resettlement organizations maintain a nationwide network of     of DHS to “suspend decisions on applications for refugee
approximately 355 affiliated offices in 226 communities to      status.” See USRAP EO § 3(b).
provide services.” Id.
                                                                 *4 The Order begins by asserting that “over the last 4
Even before a refugee travels to the United States,             years, the United States has been inundated with record
the RSC obtains a “sponsorship assurance” from an               levels of migration, including through the U.S. Refugee
approved resettlement agency within the United States; that     Admissions Program (USRAP).” USRAP EO § 1. It
                                                                notes that communities “from Charleroi, Pennsylvania,


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              Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                   Document 84-2            Filed 04/04/25           Page 6 of 24


and Springfield, Ohio, to Whitewater, Wisconsin” have                    jurisdictions may have greater involvement in the
experienced “significant influxes of migrants,” and that even            process of determining the placement or resettlement of
major urban centers like “New York City, Chicago, and                    refugees in their jurisdictions.” Id. § 3(d).
Denver have sought Federal aid to manage the burden of
new arrivals.” Id. The Order further observes that “some            The USRAP EO also establishes a review process requiring
jurisdictions, like New York and Massachusetts, have even           the Secretary of Homeland Security, in consultation with the
recently declared states of emergency because of increased          Secretary of State, to submit a report to the President through
migration.” Id.                                                     his Homeland Security Advisor within 90 days “regarding
                                                                    whether resumption of entry of refugees into the United States
Based on these alleged circumstances, the USRAP EO                  under the USRAP would be in the interests of the United
concludes that the “United States lacks the ability to absorb       States, in light of the policies outlined in section 2[.]” Id. § 4.
large numbers of migrants, and in particular, refugees, into        It requires further reports “every 90 days thereafter until [the
its communities in a manner that does not compromise                President] determine[s] that resumption of the USRAP is in
the availability of resources for Americans, that protects          the interests of the United States.” Id. Thus, the President's
their safety and security, and that ensures the appropriate         say-so is the only way USRAP can resume.
assimilation of refugees.” Id.

The Executive Order establishes several key policies. First,        2.3 Agency implementation of the USRAP EO.2
“it is the policy of the United States to ensure that public        2      On February 26, 2025—one day after the Court
safety and national security are paramount considerations in                granted Plaintiffs’ motion for preliminary injunction—
the administration of the USRAP, and to admit only those                    Defendant Secretary Rubio's agents emailed termination
refugees who can fully and appropriately assimilate into the                notices to the organizational Plaintiffs, purporting to
United States and to ensure that the United States preserves                terminate their funding entirely and immediately. See
taxpayer resources for its citizens.” Id. § 2. And the Order                Dkt. Nos. 44-1–44-5. As this written Order further
states that “[i]t is also the policy of the United States that to           explains the Court's February 25th oral ruling issuing a
the extent permitted by law and as practicable, State and local             preliminary injunction, it does not address subsequent
                                                                            developments. The Court has set a separate hearing to
jurisdictions be granted a role in the process of determining
                                                                            address the termination notices.
the placement or settlement in their jurisdictions” of refugees.
Id.                                                                  *5 Rather than waiting for the USRAP EO's suspension on
                                                                    entry to take effect on January 27, Defendants Marco Rubio
The central operational provisions of the USRAP EO include:         (Secretary of State), Kristi Noem (Secretary of Homeland
                                                                    Security), and Robert F. Kennedy, Jr. (Secretary of Health
  1. A suspension of “entry into the United States of refugees      and Human Services) (collectively, “Agency Defendants”)
     under the USRAP,” effective on January 27, 2025. Id. §         implemented it immediately. The day after President Trump
     3(a).                                                          signed the USRAP EO, PRM sent an email to refugee
                                                                    resettlement partners stating that:
  2. An immediate suspension of “decisions on applications
     for refugee status.” Id. § 3(b).                                 Following the issuance of the Executive Order (EO),
                                                                      “Realigning the United States Refugee Admissions
  3. A case-by-case exception mechanism allowing the
                                                                      Program,” refugee arrivals to the United States have been
    Secretaries of State and Homeland Security to “jointly
                                                                      suspended until further notice. All previously scheduled
    determine to admit aliens to the United States as
                                                                      travel of refugees to the United States is being cancelled,
    refugees ... only so long as they determine that the entry
                                                                      and no new travel bookings will be made. RSCs should not
    of such aliens as refugees is in the national interest and
                                                                      request travel for any additional refugee cases at this time.
    does not pose a threat to the security or welfare of the
    United States.” Id. § 3(c).                                       Additionally, all refugee case processing and pre-departure
                                                                      activities are also suspended. RSCs and IOM should not
  4. A directive for the Secretary of Homeland Security
                                                                      move refugees to transit centers in anticipation of travel and
     to “examine existing law to determine the extent to
                                                                      should halt all pre-departure activities for refugee cases. No
     which, consistent with applicable law, State and local
                                                                      new referrals should be made into the USRAP.



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              Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                   Document 84-2           Filed 04/04/25            Page 7 of 24


Dkt. Nos. 15-23 ¶ 29; 15-24 ¶ 35.                                   Additionally, on January 20, 2025, the Agency Defendants
                                                                    began withholding reimbursements owed to resettlement
In a follow-up email the next day, PRM confirmed that “all          agencies for work already performed under cooperative
planned refugee arrivals for this week have been cancelled          agreements to support recently arrived refugees and Special
and we do not anticipate any being scheduled[.]” Dkt. Nos.          Immigrant Visa (SIV) recipients. Dkt. Nos. 15-23 ¶¶ 46–47,
15-23 ¶ 30; 15-24 ¶ 36. This action left stranded thousands         53; 15-24 ¶ 59. This has resulted in millions owed to the
of people in the process of fleeing their home countries under      resettlement agencies for work performed in November and
fear of persecution and harm. See Dkt. No. 1 at ¶ 207; see, e.g.,   December 2024.
Dkt. No. 15-17 (“I live in fear.”). Plaintiffs call these actions
the “Agency Suspension.”                                             *6 Plaintiffs refer to the Suspension Notices and the sub
                                                                    silentio withholding of reimbursements, together, as the
The Agency Defendants also suspended all funding to RSCs            “Refugee Funding Suspension.”
and resettlement agencies, despite the cooperative agreements
promising federal funding for work completed on behalf of
DOS. On January 24, 2025, PRM sent notices of suspension            2.4 Plaintiffs’ experiences.
(“Suspension Notices”) to the resettlement agencies, stating        Plaintiffs challenge the USRAP EO, the Agency Suspension,
in relevant part:                                                   and the Refugee Funding Suspension. Each Plaintiff has
                                                                    suffered harm as a result of the USRAP EO, the Agency
  Consistent with the President's Executive Order on                Defendants’ actions, or both.
  Reevaluating and Realigning United States Foreign Aid,
  the U.S. Department of State, Bureau of Population,               Plaintiff Pacito3 is a refugee from the Democratic Republic of
  Refugees, and Migration hereby notifies the recipient             the Congo. He and his family were scheduled to travel to the
  that, consistent with the terms of the award(s), the              United States on January 22, 2025. Dkt. No. 15-4 ¶ 17. The
  referenced award(s) [referencing recipient-specific grants]       family sold all their belongings that they could not bring with
  are immediately suspended as of January 24, 2025.                 them, packed their bags, and gave up their home. See id. ¶¶ 17,
  Award(s) may no longer effectuate agency priorities               20. On January 18, 2025, IOM told Pacito and his family to
  and are suspended pending a Department-wide review                report to the transit center on January 21—the day before their
  of foreign assistance programs. Decisions whether to              travel. Id. ¶ 21. Before they made it to the transit center on
  continue, modify, or terminate award(s) will be made              January 21, Pacito received a phone call “telling [him] there
  following this review.                                            was a problem and [they] would not be able to travel to the
                                                                    United States after all.” Id. ¶ 23.
  Effective immediately upon receipt of this Notice of
  Suspension the Recipient must stop all work under the
                                                                    3      The individual Plaintiffs wish to proceed using
  award(s) and not incur any new costs after the effective
  date cited above. The Recipient must cancel as many                      pseudonyms for fear of the serious harms and retaliation
                                                                           they may face should their participation in this lawsuit
  outstanding obligations as possible.
                                                                           become public. Dkt. No. 1 at 5 n.1; see Dkt. No. 15-14 ¶¶
  [...]                                                                    45–48; Dkt. No. 15-15 ¶¶ 31–35; Dkt. No. 15-16 ¶¶ 32–
                                                                           35; Dkt. No. 15-17 ¶¶ 22–24; Dkt. No. 15-18 ¶¶ 31–35;
  Recipients may submit payment requests for legitimate                    Dkt. No. 15-19 ¶¶ 25–27; Dkt. No. 15-20 ¶¶ 27–30; Dkt.
  expenses incurred prior to the date of this Notice of                    No. 15-21 ¶¶ 16–19; Dkt. No. 15-22 ¶¶ 26–28. Given the
  Suspension or legitimate expenses associated with this                   heated political climate surrounding immigration issues
  Notice of Suspension.                                                    and the other plaintiff-specific harms alleged in their
                                                                           declarations, these fears are reasonable. Their privacy
Dkt. Nos. 31-3, 31-4; see also Dkt. No. 15-23 ¶ 43; Dkt.
                                                                           interests also outweigh any prejudice to Defendants or
No. 15-24 ¶¶ 44–35. As noted in the quoted text, the
                                                                           the public's interest in disclosure. Cf. Does I thru XXIII
Agency Defendants cite to the President's Executive Order
                                                                           v. Advanced Textile Corp., 214 F.3d 1058, 1069 (9th
on Reevaluating and Realigning United States Foreign Aid,                  Cir. 2000) (reversing district court for denying plaintiffs
Executive Order No. 14,169, 90 Fed. Reg. 8,610 (Foreign Aid                permission to proceed anonymously). Accordingly, the
EO) to justify the suspensions.                                            individual Plaintiffs may proceed using pseudonyms.




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              Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                   Document 84-2           Filed 04/04/25           Page 8 of 24


Plaintiff Esther is a U.S. citizen and former refugee living        travel anymore,” as “flights were cancelled because of the
in Idaho. Her daughter, Josephine, is now stranded in South         U.S. suspension of refugee admissions.” Id. ¶ 18.
Africa. They have been waiting years to reunite under the
FTJ program. Dkt. No. 15-15. Indeed, Esther filed her               Plaintiff Ali is an Iraqi refugee, newly arrived and living
FTJ application for Josephine in 2017, and after years of           on his own in the United States. He is 22-years old, and he
waiting for a decision, her daughter was finally approved           arrived on January 9, 2025, through USRAP. See Dkt. No.
for resettlement in Idaho. Id. ¶ 20. Esther explains that her       15-20 1. As a gay man, he fled Iraq for his safety and to
daughter was on the verge of travel when the President issued       avoid persecution. See id. When his application was approved
the USRAP EO. Josephine's admission and reunification with          and he learned he would be resettled in the United States,
her mother were suspended indefinitely.                             “[he] was so excited that [he] began screaming with happiness
                                                                    and jumping and dancing,” because “for the first time in
Plaintiff Marcos faces a similar situation. He is a citizen of El   [his] life, [he] thought [he] would be able to live ... free of
Salvador with Temporary Protected Status; he has lived in the       fear.” Id. ¶¶ 14–15. Because Ali is alone in the United States
United States for 25 years and works in private security. Dkt.      and arrived with only $120, he depended on the resettlement
No. 15-19 ¶¶ 4–7. He first applied for his stepdaughter's entry     agencies to help him get established. See id. ¶¶ 19–21. But
into the United States from El Salvador under the Central           because the USRAP EO has indefinitely suspended funding
American Minors (CAM) refugee program in 2016. Id. ¶ 2,             for resettlement agencies within the United States, many have
11. “However, because of President Trump's actions to end           stopped accepting applications for specific programs they
the CAM program during his first administration, the process        have historically offered to assist refugees. He worries that
was stopped.” Id. ¶ 11. He restarted the process in 2022, id.,      “he may not be able to get the help [he] needs to establish
and on January 6, 2025, IOM told him that his stepdaughter          [himself] here and find a job.” Id. ¶ 24.
would travel to the United States in the first or second week
of February. Id. ¶¶ 13–14. Eager to see his stepdaughter, he        Plaintiff Ahmed is an Afghan refugee and peace activist who
offered to buy her plane ticket, but IOM told him “the way          wishes to pursue his studies and begin a new life in the United
it works for refugees is that [IOM] pay[s] for the ticket.” Id.     States. Because of the USRAP EO, he is stuck “in limbo” in
¶ 14. Marcos was “particularly devastat[ed]” to hear that his       Germany. Dkt. No. 14 at 12 (citing Dkt. No. 15-21 ¶¶ 4, 7,
stepdaughter's travel had been cancelled because this is the        13–15).
second time the refugee process has been halted by President
Trump's executive orders. Id. ¶ 18.                                 And finally, Plaintiff Rachel is a Washington-based sponsor
                                                                    who has fundraised over $15,000 to welcome an Afghan
 *7 Plaintiff Sara is an Iraqi refugee stranded in dangerous        refugee family through the Welcome Corps program. Id.
conditions in Jordan. She applied for refugee status for herself    (citing Dkt. No. 15-22 ¶¶ 3, 5, 8–18).
and her son in 2014. Dkt. No. 15-17 ¶ 10. In 2024, they were
finally, conditionally approved for refugee resettlement and        As for the organizational Plaintiffs, Church World Services,
began the post-application resettlement process. See id. ¶¶         Inc. (CWS) is an RSC that has cooperative agreements with
11–14. She planned to join her son and his family—all U.S.          DOS to assist with overseas USRAP processing as well as
citizens—living in Idaho. Id. ¶¶ 6, 15–16, 21. But now she          domestic resettlement of refugees. Dkt. No. 15-23. “Either
cannot do so because of the USRAP EO.                               directly or through its affiliates, CWS currently supports
                                                                    refugees resettled in 44 active locations in 24 states.” Id.
Plaintiff Alyas is a Yazidi refugee from Iraq who applied for       ¶ 9. HIAS, Inc., too, is an RSC that provides resettlement
refugee admission to the United States in 2011 because his          services in the United States through 30 affiliates in 17 states.
life was in danger. Dkt. No. 15-18 ¶ 11. After he married           Id. ¶ 22. Pacific Lutheran Community Services Northwest
and had a son, he added his wife and child to the application.      (“LCSNW”) is an affiliate of a national resettlement agency
Id. ¶ 12. They received conditional approval and began the          headquartered in Tacoma, Washington, with more than 40
post-application process, including cultural orientation. Id.       locations in the Pacific Northwest, more than 700 employees,
¶¶ 13–16. IOM bought tickets and arranged for the family's          and dozens of programs providing services to more than
travel. Id. ¶ 17. They were scheduled to travel on February         40,000 clients each year. Id. ¶ 24. As a result of the Refugee
3, 2025, after years of waiting, but on January 21, 2025,           Funding Suspension, these resettlement agencies suddenly,
IOM called him “to say that [he and his] family ... could not       and without advance notice, lost their funding indefinitely.



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             Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                  Document 84-2           Filed 04/04/25          Page 9 of 24


The financial impact of the EO is devastating for these            v. Massachusetts, 505 U.S. 788, 802–03, 112 S.Ct. 2767, 120
organizations, threatening their core existence, as they have      L.Ed.2d 636 (1992) (quoting Mississippi v. Johnson, 71 U.S.
already been forced to furlough or lay off hundreds of staff.      475, 501, 4 Wall. 475, 18 L.Ed. 437 (1866)); see Hawaii, 859
Dkt. Nos. 14 at 14; 15-23 ¶¶ 3, 41, 54, 56; 15-24 ¶¶ 3, 42,        F.3d at 802 (“[I]njunctive relief against the President ... is
61–62.                                                             extraordinary, and should ... raise[ ] judicial eyebrows.”).

                                                                   And yet, the Supreme Court has “long held that when the
                                                                   President takes official action, the Court has the authority
3. DISCUSSION
                                                                   to determine whether he has acted within the law.” Clinton
3.1 Plaintiffs have standing to sue.                               v. Jones, 520 U.S. 681, 703, 117 S.Ct. 1636, 137 L.Ed.2d
 *8 “Article III of the Constitution limits the federal judicial   945 (1997); see Murphy Co. v. Biden, 65 F.4th 1122, 1130
power to the adjudication of ‘Cases’ and ‘Controversies.’ ”        (9th Cir. 2023) (“[A] challenge to presidential action will
City & Cnty. of San Francisco v. United States Citizenship         be considered constitutional, and therefore justiciable ..., so
& Immigr. Servs., 944 F.3d 773, 786 (9th Cir. 2019) (quoting       long as a plaintiff claims that the President has ‘violated
U.S. Const. art. III, § 2, cl. 1.). An essential element of        constitutional separation of powers principles’ because the
the case-or-controversy requirement is that the plaintiff must     President's action lacked both ‘statutory authority’ and
have standing to sue. Id. To demonstrate standing, the plaintiff   ‘background constitutional authority.’ ” (quoting Sierra Club
must show “ ‘concrete and particularized’ injury that is ‘fairly   v. Trump, 929 F.3d 670, 696–97 (9th Cir. 2019)). When
traceable’ to the defendant's conduct and ‘that is likely to       the President acts outside his constitutional power, federal
be redressed by a favorable judicial decision.’ ” Id. (quoting     courts—even if they cannot enjoin the President directly—
Spokeo, Inc. v. Robins, 578 U.S. 330, 338, 136 S.Ct. 1540,         can enjoin executive officials from carrying out Presidential
194 L.Ed.2d 635 (2016)). “At least one plaintiff must have         directives. See Youngstown Sheet & Tube Co. v. Sawyer,
standing to seek each form of relief requested, and that party     343 U.S. 579, 587–89, 72 S.Ct. 863, 96 L.Ed. 1153 (1952)
bears the burden of establishing the elements of standing with     (Youngstown) (holding that President Truman exceeded his
the manner and degree of evidence required at the successive       constitutional power in seizing steel mills and affirming
stages of the litigation.” Id. (cleaned up). On a preliminary      decision enjoining the Secretary of Commerce from carrying
injunction, “plaintiffs ‘may rely on the allegations in their      out Presidential order); Hawaii, 859 F.3d at 788 (“We
Complaint and whatever other evidence they submitted in            conclude that Plaintiffs’ injuries can be redressed fully
support of their preliminary-injunction motion to meet their       by injunctive relief against the [Secretaries of State and
burden.’ ” Id. (quoting Washington v. Trump, 847 F.3d 1151,        Homeland Security], and that the extraordinary remedy of
1159 (9th Cir. 2017)).                                             enjoining the President is not appropriate here.”).

The individual and organizational plaintiffs have standing         Thus, that the Court may lack jurisdiction to directly enjoin
here because their injuries, as described above, are concrete      the President does not affect the justiciability of Plaintiffs’
and non-speculative; traceable to the USRAP EO, the                claims. The Court finds that the USRAP EO, Refugee
Refugee Funding Suspension, and the Agency Suspension;             Funding Suspension, and Agency Suspension are subject to
and redressable by the relief sought.                              judicial review, that Plaintiffs have established standing to
                                                                   challenge those actions, and that “Plaintiffs’ injuries can be
Defendants challenge this finding only as far as they contend      redressed fully by injunctive relief against the remaining
that “Plaintiffs lack standing to seek any relief against the      Defendants,” without enjoining the President himself. See
President” because “the President may not be enjoined in the       Hawaii, 859 F.3d at 788.
performance of his official non-ministerial duties.” Dkt. No.
31 at 18. While it is unclear why Defendants discuss this issue
                                                                   3.2 Plaintiffs are entitled to a preliminary injunction.
in relation to standing, “[t]his position of the Government is
                                                                    *9 A preliminary injunction is an extraordinary remedy,
[nevertheless] well taken.” Hawaii v. Trump, 859 F.3d 741,
                                                                   never awarded as a matter of right. All. for the Wild Rockies
788 (9th Cir. 2017) (Hawaii), vacated on other grounds,
                                                                   v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011). Its purpose
583 U.S. 941, 138 S.Ct. 377, 199 L.Ed.2d 275 (2017).
                                                                   is to maintain the “ ‘status quo ante litem’ ”—that is, “ ‘the
In general, courts lack “jurisdiction of a bill to enjoin the
                                                                   last uncontested status’ ” before the controversy erupted—
President in the performance of his official duties.” Franklin
                                                                   pending a decision on the merits. Flathead-Lolo-Bitterroot


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             Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                    Document 84-2             Filed 04/04/25           Page 10 of 24


Citizen Task Force v. Montana, 98 F.4th 1180, 1191 (9th                The parties dispute where on this spectrum the USRAP EO
Cir. 2024) (quoting GoTo.com, Inc. v. Walt Disney Co., 202             falls. While the Constitution gives Congress authority over
F.3d 1199, 1210 (9th Cir. 2000)). To obtain a preliminary              immigration policy, see U.S. Const. art I, § 1; id. art. I, §
injunction, the plaintiff must clearly show (1) likely success         8, cl. 4, Congress delegated to the President the power to
on the merits, (2) likely irreparable harm without preliminary         suspend entry of foreign nationals deemed detrimental to U.S.
relief, (3) a balance of equities in their favor, and (4) service of   interests, see 8 U.S.C. § 1182(f). Based on this delegation,
the public interest. Winter v. Nat. Res. Def. Council, Inc., 555       the President claims maximum authority for the USRAP EO.
U.S. 7, 20, 129 S.Ct. 365, 172 L.Ed.2d 249 (2008). These four          Section 1182(f) states:
factors—the Winter factors—apply whenever a preliminary
injunction is sought. Winter, 555 U.S. at 20, 129 S.Ct. 365;               Suspension of entry or imposition of restrictions by
see Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011) (“a showing              President
on all four prongs” is required).
                                                                         Whenever the President finds that the entry of any aliens
                                                                         or of any class of aliens into the United States would be
The Ninth Circuit takes a “sliding scale” approach to
                                                                         detrimental to the interests of the United States, he may
preliminary injunctions, under which “serious questions
                                                                         by proclamation, and for such period as he shall deem
going to the merits and a balance of hardships that tips sharply
                                                                         necessary, suspend the entry of all aliens or any class
towards the plaintiffs can support issuance of a preliminary
                                                                         of aliens as immigrants or nonimmigrants, or impose on
injunction, so long as the plaintiffs also show that there is a
                                                                         the entry of aliens any restrictions he may deem to be
likelihood of irreparable injury and that the injunction is in
                                                                         appropriate ....
the public interest.” Fraihat v. U.S. Immigr. & Customs Enf't,
                                                                       8 U.S.C. § 1182(f).
16 F.4th 613, 635 (9th Cir. 2021) (cleaned up). This approach
allows a stronger showing of one Winter factor to offset a
                                                                       In Trump v. Hawaii (Hawaii III), the Supreme Court
weaker showing of another. Planned Parenthood Great Nw.,
                                                                       addressed the scope of presidential authority under Section
Hawaii, Alaska, Indiana, Kentucky v. Labrador, 122 F.4th
                                                                       1182(f), establishing both its breadth and its boundaries. 585
825, 843–44 (9th Cir. 2024).
                                                                       U.S. 667, 138 S.Ct. 2392, 201 L.Ed.2d 775 (2018). Section
                                                                       1182(f) “exudes deference” to the President and “vests [him]
As explained below, all four Winter factors are met here.
                                                                       with ‘ample power’ to impose entry restrictions in addition
                                                                       to those elsewhere enumerated in the INA.” Id. at 684, 138
3.3 Plaintiffs are likely to succeed on the merits of their            S.Ct. 2392 (quoting Sale v. Haitian Ctrs. Council, Inc., 509
ultra vires claim.                                                     U.S. 155, 187, 113 S.Ct. 2549, 125 L.Ed.2d 128 (1993)).
Plaintiffs challenge the USRAP EO as ultra vires, asserting            The statutory text imposes a single, straightforward condition:
that it exceeds the statutory and constitutional limitations           that the President “find[ ]” that the entry of certain aliens
on the President's power. Plaintiffs’ reply clarifies that they        “would be detrimental to the interests of the United States.”
only request a preliminary injunction on the grounds that the          Id. (quoting 8 U.S.C. § 1182(f)).4
USRAP EO exceeds the scope of the President's statutory
power—specifically under the INA. See Dkt. No. 36 at 11 n.3.           4       Congress expressly conditioned the President's
The Court finds that Plaintiffs are likely to succeed on the                   suspension authority under Section 1182(f) on a finding
merits of that claim.                                                          that entry would be “detrimental to the interests
                                                                               of the United States.” The statutory text employs
The President's authority to issue the USRAP EO must come                      the term “finding,” which ordinarily denotes the
from either Congress or the Constitution. Youngstown, 343                      conclusion of an inquiry or investigation—not merely
U.S. 579, 72 S.Ct. 863, 96 L.Ed. 1153 (1952). Under the                        a proclamation or announcement, as is the case here.
Youngstown framework, Presidential power is strongest when                     Compare Finding and To find, Webster's Third New
                                                                               International Dictionary of the English Language at
“act[ing] pursuant to an express or implied authorization of
                                                                               851, 852 (2021) with To proclaim and Proclamation,
Congress,” id. at 635, 72 S.Ct. 863, weakest when opposing
                                                                               id. at 1808. When comparing the USRAP EO with the
Congress's will, id. at 637, 72 S.Ct. 863, and uncertain in the
                                                                               proclamation reviewed in Hawaii III, notable differences
“zone of twilight” between these poles, id. at 636, 72 S.Ct.                   emerge. The latter contained a thorough description
863.                                                                           of a multi-agency evaluation process and specific



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            Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                   Document 84-2         Filed 04/04/25           Page 11 of 24


       recommendations supporting the restrictions, see 585               #1 v. Trump, 957 F.3d 1050 (9th Cir. 2020), is binding
       U.S. at 685, 138 S.Ct. 2392, while the USRAP EO simply             precedent.
       “proclaim[s]” detriment without providing evidence of
                                                                   Thus, the President may not employ Section 1182(f) to effect a
       any investigative process or factual determinations—
                                                                   wholesale reversal of legislatively established policy, nor may
       i.e., findings—specifically related to refugee admissions
                                                                   he use the provision to nullify an entire statutory framework
       under USRAP, USRAP EO § 3(a). The textual
       divergence between Section 1182(f)’s requirements and
                                                                   through executive decree. The Constitution's separation of
       the USRAP EO's language raises questions about its          powers demands this limitation.
       conformity with congressional authorization, but the
       Court need not resolve this issue as it concludes for
       other reasons that the USRAP EO exceeds the President's        3.3.1 The USRAP EO eviscerates an entire statutory
       authority under Section 1182(f).                               scheme, replacing it with the President's unfettered
                                                                      discretion.
 *10 This authority, while substantial, is not without limits.
                                                                   The USRAP EO is ultra vires because it unlawfully
In Hawaii III, the Supreme Court delineated the outer
                                                                   overrides USRAP in its entirety. The order suspends USRAP
boundaries of this presidential power, accepting the premise
                                                                   indefinitely, with resumption contingent solely on President
that Section 1182(f) “does not give the President authority
                                                                   Trump's determination that allowing refugee entries “is in
to countermand Congress's considered policy judgments.” Id.
                                                                   the interests of the United States.” USRAP EO §§ 1, 4. The
at 689, 138 S.Ct. 2392. The provision “does not allow the
                                                                   order provides neither criteria for this determination nor a
President to expressly override particular provisions of the
                                                                   timeline for making it. Given these terms, President Trump
INA.” Id. at 689, 691, 138 S.Ct. 2392.
                                                                   could effectively suspend USRAP permanently based solely
                                                                   on his judgment about American interests.
Indeed, the Supreme Court's analysis in Hawaii III turned
precisely on this limitation. The Court upheld the presidential
                                                                   This executive action unlawfully “countermand[s] Congress's
proclamation at issue because the “plaintiffs [did] not point
                                                                   considered policy judgment[ ],” see Hawaii III, 585 U.S.
to any contradiction with another provision of the INA,”
                                                                   at 688, 138 S.Ct. 2392, that allowing refugees into the
and thus “the President [had] not exceeded his authority
                                                                   country is in the United States’ interest, thereby “reversing
under § 1182(f).” Id. at 691, 138 S.Ct. 2392. This reasoning
                                                                   course on legislatively enacted policy in its entirety” and “
establishes the principle that the President's invocation of
                                                                   ‘eviscerate[ing]’ ” it. Nat'l Ass'n of Mfrs., 491 F. Supp. 3d at
Section 1182(f) becomes unlawful and ultra vires when it
                                                                   565 (quoting Doe #1, 957 F.3d at 1064). Congress clearly and
overrides or conflicts with the INA's statutory provisions.
                                                                   expressly stated its purpose and policy judgments in passing
                                                                   the Refugee Act:
The Ninth Circuit, applying this precedent, has further
clarified this framework, noting that while “§ 1182(f) grants        (a) The Congress declares that it is the historic policy of
the President broad discretion to suspend the entry of aliens        the United States to respond to the urgent needs of persons
into the United States ... the substantive scope of this power       subject to persecution in their homelands, including,
is not limitless.” Doe #1 v. Trump, 957 F.3d 1050, 1066 (9th         where appropriate, humanitarian assistance for their care
Cir. 2020).5 The President may not invoke Section 1182(f)            and maintenance in asylum areas, efforts to promote
to “eviscerate” an entire “statutory scheme,” id. at 1064,           opportunities for resettlement or voluntary repatriation, aid
or “revers[e] course on legislatively enacted policy in its          for necessary transportation and processing, admission to
entirety,” Nat'l Ass'n of Mfrs. v. United States Department          this country of refugees of special humanitarian concern to
of Homeland Security, 491 F. Supp. 3d 549, 565 (N.D. Cal.            the United States, and transitional assistance to refugees in
2020).                                                               the United States ....

5                                                                     *11 (b) The objectives of this Act are to provide a
       The Ninth Circuit “re-examined the merits” of Doe #1 v.
                                                                     permanent and systematic procedure for the admission to
       Trump, 957 F.3d 1050 (9th Cir. 2020), in a subsequent
                                                                     this country of refugees of special humanitarian concern
       decision, but that decision was later vacated. See Doe
                                                                     to the United States, and to provide comprehensive and
       #1 v. Trump, 984 F.3d 848 (9th Cir. 2020), vacated,
       Doe #1 v. Biden, 2 F.4th 1284, 1285 (9th Cir. 2021). At       uniform provisions for the effective resettlement and
       oral argument, the Parties expressed agreement that Doe       absorption of those refugees who are admitted.




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            Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                Document 84-2          Filed 04/04/25           Page 12 of 24


Pub. L. No. 96-212, § 101(b), 94 Stat. 102, § 101 (defining      While the President need not “prescribe in advance a fixed
“Purpose” of 8 U.S.C. § 1521 (USRAP)).                           end date” for entry restrictions—which would be impractical
                                                                 or impossible in some cases—there must be some temporal
By replacing these “carefully considered policy judgments”       limitation. For example, when responding to a diplomatic
with his own “America-First” policy to exclude refugees from     dispute or policy concern, a President may “link the duration
the nation, the President unlawfully nullifies and overrides     of the suspension, implicitly or explicitly, to the resolution
USRAP with a “different and inconsistent” approach to the        of the triggering condition.” Hawaii III, 585 U.S. at 687,
same issue of refugee admissions. See Hawaii III, 585 U.S. at    138 S.Ct. 2392. The proclamation in Hawaii III satisfied this
689, 138 S.Ct. 2392; Youngstown, 343 U.S. at 639, 72 S.Ct.       requirement by making clear that its “conditional restrictions
863.                                                             would remain in force only so long as necessary” to address
                                                                 identified “inadequacies and risks,” with the aim to “relax or
Additionally, with respect to Section 3(b) of the USRAP          remove the entry restrictions as soon as possible.” Id. at 708,
EO, that section plainly exceeds Section 1182(f)’s statutory     138 S.Ct. 2392.
language. Through Section 1182(f), Congress has authorized
the President to “suspend ... entry” and to “impose on the       The USRAP EO lacks any such temporal limitation. Unlike
entry of aliens any restrictions he may deem appropriate.”       the proclamation upheld in Hawaii III, it contains no language
8 U.S.C. § 1182(f). But Section 3(b) of the USRAP EO             —implicit or explicit—suggesting that the suspension is tied
directs the “Secretary of Homeland Security [to] suspend         to the resolution of a specific triggering condition. This
decisions on applications for refugee status,” until he finds    deficiency mirrors the problem the Ninth Circuit identified
that “resum[ing]” USRAP is “in the interests of the United       in Doe #1 v. Trump, in which the court invalidated a
States.” USRAP EO §§ 3(b), 4. The plain language of Section      proclamation suspending entry of immigrants based on
1182(f) does not reference refugee applications, much less       domestic healthcare system concerns. 957 F.3d at 1065. That
delegate authority to suspend agency operations directed by      proclamation, like the USRAP EO, had no fixed end date and
Congress.                                                        failed to tie the suspension to any resolvable, triggering event
                                                                 or condition. Id. at 1065–66.
On top of overriding USRAP, Plaintiffs argue that the USRAP
EO conflicts with Congress's statutorily implemented FTJ          *12 Also like the unlawful proclamation in Doe #1 v. Trump,
program. See Dkt. No. 14 at 16 (citing 8 U.S.C. § 1157(c)        the USRAP EO cites broad, long-term policy concerns
(2)(A); Doe v. Trump, 288 F. Supp. 3d 1045, 1078–79 (W.D.        without demonstrating how these concerns will be resolved
Wash. 2017)). Given the findings above, the Court need not       or how the suspension relates to addressing them. It notably
reach this issue.                                                fails to identify deficiencies in the existing refugee program
                                                                 that would be remedied by the suspension, and its zero-sum
                                                                 view that admitting refugees necessarily depletes resources
   3.3.2 The USRAP EO is ultra vires because it does not         for Americans creates an unresolvable justification. Without
   “suspend” entry under Section 1182(f).                        these elements, there is no way to “render the limitation
The USRAP EO exceeds the “textual limitation” imposed            feasibly temporary,” as required by the Ninth Circuit in Doe
by Section 1182(f) requiring that suspensions on entry be        #1. 957 F.3d at 1066.
temporary or conditional in nature. See 8 U.S.C. § 1182(f);
Hawaii III, 585 U.S. at 687, 138 S.Ct. 2392 (analyzing           Consequently, the USRAP EO does not merely “suspend”
statute's plain-language limitations); Doe #1, 957 F.3d at       entry “for [a] period” as permitted by Section 1182(f); rather,
1065 (same). As the Supreme Court recognized in Hawaii           it effectively displaces the refugee program entirely and
III, Section 1182(f) allows the President to “suspend” entry     indefinitely, exceeding the President's statutory authority.
“for [a] period”—not to terminate entry. The term “suspend”
means “to cause to stop temporarily,” Suspend, Merriam-
Webster Dictionary (2019), or “connotes a deferral till             3.3.3 The Court rejects Defendants’ sweeping
later,” suggesting a finite interruption rather than permanent      characterization of the President's inherent powers
cessation. Doe #1, 957 F.3d at 1065 (quoting Hawaii III, 585        here.
U.S. at 687, 138 S.Ct. 2392 (citation omitted)).                 Defendants argue that the USRAP EO is well within
                                                                 the President's discretion because his “authority reigns
                                                                 principally in the realm of admissions of aliens and foreign


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              Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                     Document 84-2             Filed 04/04/25           Page 13 of 24


affairs.” Dkt. No. 31 at 18–19 (citing Fiallo v. Bell, 430 U.S.         United States preserves taxpayer resources for its citizens.”).
787, 792, 97 S.Ct. 1473, 52 L.Ed.2d 50 (1977); Harisiades v.            Although the USRAP EO makes a conclusory reference
Shaughnessy, 342 U.S. 580, 589, 72 S.Ct. 512, 96 L.Ed. 586              to “national security,” it's clearly distinguishable from
(1952)). Without citation, they also assert that the President          other national security focused executive orders, including
“has broad authority to ... determin[e] how foreign aid funds           the Presidential Proclamation at issue in Hawaii III. See
are used.” Id. at 20. These contentions seem to be part of a            Proclamation No. 9645, 82 Fed. Reg. 45161 (Sept. 24, 2017)
larger argument that the Constitution provides the President            (“Enhancing Vetting Capabilities and Processes for Detecting
with inherent authority to act as he did here. The Court finds          Attempted Entry Into the United States by Terrorists or
these arguments unpersuasive for the reasons below.                     Other Public-Safety Threats”). Unlike the USRAP EO, that
                                                                        Presidential Proclamation “identif[ied] ongoing deficiencies
To start, Defendants’ cases do not support the conclusion               in the information needed to assess whether nationals of
that the Constitution gives the President inherent power                particular countries present[ed] ‘public-safety threats.’ ”
to unilaterally override entire immigration statutes passed             Hawaii III, 585 U.S. at 677, 138 S.Ct. 2392.
by Congress. Rather, those cases highlight that the
Legislative Branch is constitutionally responsible for passing           *13 In the realm of domestic economic matters, however,
immigration laws. See e.g., Fiallo, 430 U.S. at 792, 794,               “the national security and foreign affairs justifications for
97 S.Ct. 1473 (1977) (citation omitted) (“Congress has ...              policy implementations disappear, and the normal policy-
exceptionally broad power to determine which classes of                 making channels remain the default rules of the game.” Doe
aliens may lawfully enter this country.”); U.S. ex rel. Knauff          #1, 957 F.3d at 1067. Like the Ninth Circuit in Doe #1, this
v. Shaughnessy, 338 U.S. 537, 543, 70 S.Ct. 309, 94 L.Ed.               Court rejects the notion that the USRAP EO implicates the
317 (1950) (“[N]ormally Congress supplies the conditions of             President's foreign affairs powers simply because it affects
the privilege of entry into the United States,” and “[e]xecutive        refugees.
officers may be entrusted with the duty of specifying the
procedures for carrying out the congressional intent.”). The            Instead, the focus of the USRAP EO is domestic—the
Constitution expressly vests the Legislative Branch—not the             economic impact on American communities, tax-payer
Executive Branch—with the power to “establish [a] uniform               resources, and “appropriate assimilation.” See USRAP EO §
Rule of Naturalization” and pass all laws. U.S. Const. art I, §         1. This is not a use of Section 1182(f) that affords the President
1; id. art. I, § 8, cl. 4; see also Fiallo, 430 U.S. at 792, 97 S.Ct.   maximum deference. Indeed, “Congress’ delegation of
1473 (“[O]ver no conceivable subject is the legislative power           authority in the immigration context under Section 1182(f)
of Congress more complete than it is over the admission                 does not afford the President unbridled authority to set
of aliens” (internal citations and quotation marks omitted)).           domestic policy regarding employment of nonimmigrant
Indeed, the Constitution requires the President to “take Care”          foreigners.” Nat'l Ass'n of Mfrs. v. DHS, 491 F. Supp. 3d
to ensure that Congress's laws are “faithfully executed.” U.S.          at 563. Rather, “there must be some measure of constraint
Const. art. II, § 3.                                                    on Presidential authority in the domestic sphere in order
                                                                        not to render the executive an entirely monarchical power
Next, Defendants’ argument mischaracterizes the USRAP EO                in the immigration context, an area within clear legislative
as a creature of foreign policy, when in fact, its “purpose”            prerogative.” Id.
and “policy” sections primarily reference domestic economic
matters and the “appropriate assimilation of refugees” within           Accordingly, this Court also rejects Defendants’ argument
our country. See USRAP EO §§ 1, 2 (“The United States                   that the USRAP EO falls within the President's plenary
lacks the ability to absorb large numbers of migrants, and              authority to manage foreign affairs.
in particular, refugees, into its communities in a manner
that does not compromise the availability of resources for
Americans, ... and that ensures the appropriate assimilation            3.4 Plaintiffs are likely to succeed on their APA claims
of refugees” ... “It is the policy of the United States to              against Secretary Rubio, Secretary Noem, and Secretary
ensure that public safety and national security are paramount           Kennedy.
considerations in the administration of the USRAP, and to               The Court turns now to Plaintiffs’ claims against the
admit only those refugees who can fully and appropriately               Agency Defendants. Whereas Plaintiffs’ ultra vires claims
assimilate into the United States and to ensure that the                against the President challenge the USRAP EO itself, their
                                                                        Administrative Procedure Act (APA) claims against the


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             Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                    Document 84-2           Filed 04/04/25         Page 14 of 24


Agency Defendants challenge agency actions taken to halt
and defund USRAP.
                                                                      a. Plaintiffs adequately identify discrete agency actions for
                                                                      APA review.
“The APA sets forth the procedures by which federal agencies
are accountable to the public and their actions subject to             *14 According to Defendants, Plaintiffs identify no
review by the courts.” Franklin, 505 U.S. at 796, 112 S.Ct.           “discrete” agency action for court review, instead mounting
2767. Under the APA, persons “suffering legal wrong” or               an impermissibly broad “programmatic challenge” seeking
“adversely affected” by a “final agency action for which there        “wholesale improvement” of agency programs. Dkt. No.
is no other adequate remedy in a court” are “entitled to judicial     31 at 26. In support of this argument, they cite Sierra
review thereof.” 5 U.S.C. §§ 702, 704. Section 706(2) of              Club v. Peterson, 228 F.3d 559, 567 (5th Cir. 2000)
the APA requires reviewing courts to “hold unlawful and set           (finding that environmental groups’ APA claims failed to
aside agency action ... found to be” “arbitrary, capricious,          specify a final agency action). But Sierra Club involved
an abuse of discretion, or otherwise not in accordance with           a “sweeping argument that the Forest Service's ‘on-the-
law”; “contrary to constitutional right, power, privilege, or         ground’ management of the Texas forests over the last twenty
immunity”; “in excess of statutory jurisdiction, authority,           years violate[d] the [National Forest Management Act].” Id.
or limitations, or short of statutory right”; or “without             Plaintiffs, by contrast, narrowly challenge discrete agency
observance of procedure required by law.” 5 U.S.C. § 706(2)           actions made over several days or weeks.
(A)–(D). While the precise “procedure required by law”
varies by context, of relevance here are the notice-and-              Concretely, Plaintiffs break down their allegations against
comment procedures set forth in Section 553, which govern             the Agency Defendants into two sets of agency actions:
agency rulemaking. See 5 U.S.C. § 553.                                the “Agency Suspension” and the “Refugee Funding
                                                                      Suspension.” The “Agency Suspension” refers to the
Plaintiffs offer three arguments why the Court, under Section         categorical suspension of all USRAP-related refugee case
706(2), must hold unlawful and set aside the agency actions           processing, case decisions, refugee admissions, and refugee
interpreting, implementing, and expanding the USRAP EO:               travel into the United States. See Dkt. No. 14 at 6. The
first, that these actions violate statutory law; second, that these   Agency Defendants implemented the Agency Suspension a
actions ignored required procedures of notice-and-comment             full week before the USRAP EO called for the suspension of
rulemaking; and third, that these actions are arbitrary and           refugee admissions into the country. Compare USRAP EO, §
capricious. On all three fronts, the Court agrees that Plaintiffs     3(a) (“This suspension shall take effect at 12:01 am eastern
have shown a likelihood of success on the merits.                     standard time on January 27, 2025.”) with Dkt. No. 31-1 ¶ 20
                                                                      (Zerbinopoulos Decl.) (“PRM officials canceled all refugee
                                                                      travel scheduled for after 12:00 pm on January 20, 2025.”).
   3.4.1 The Refugee Funding Suspension and the Agency
   Suspension are final agency actions reviewable under
                                                                      The “Refugee Funding Suspension” refers to the suspension
   the APA.
                                                                      of federal funding to USRAP nonprofit partners for their
To begin, Defendants argue that Plaintiffs fail to allege any
                                                                      work processing refugee applications abroad and providing
final agency action reviewable under the APA. They posit four
                                                                      services to refugees domestically. USRAP nonprofit partners,
arguments why this is the case. First, they say that Plaintiffs
                                                                      including Plaintiff resettlement agencies, learned of the
fail to identify a discrete agency action at issue. Second,
                                                                      Refugee Funding Suspension on January 24, when PRM
they argue that actions implementing executive orders are not
                                                                      issued mass “Suspension Notices” directing resettlement
reviewable under the APA. Third, they argue that the actions
                                                                      agencies to immediately stop work, cancel obligations, and
at issue are merely temporary and therefore not “final” within
                                                                      incur no new costs. Dkt. No. 31-3. Plaintiffs allege that,
the meaning of the APA. And fourth, they argue that the
                                                                      along with these Suspension Notices, the Refugee Funding
claims challenging the Refugee Funding Suspension belong,
                                                                      Suspension also includes a sub silentio suspension, enacted
if anywhere, in the United States Court of Federal Claims. The
                                                                      without notice, of contractual reimbursements owed to
Court addresses—and rejects—each argument, concluding
                                                                      USRAP partner nonprofits for work already performed under
that the Agency Suspension and Refugee Funding Suspension
                                                                      cooperative agreements. See Dkt. No. 15-23 ¶¶ 46-47.
are both reviewable under the APA.




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             Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                 Document 84-2           Filed 04/04/25           Page 15 of 24


The Court finds that these agency actions—the Agency               Proclamation ..., we may review the substantive validity of the
Suspension and the Refugee Funding Suspension—are                  Rule together with the Proclamation.” Id. (emphasis added).
discrete enough to facilitate APA review. See Al Otro Lado,
Inc. v. McAleenan, 394 F. Supp. 3d 1168, 1206–07 (S.D. Cal.        The reason for this is clear. As another court recently noted
2019) (finding that unwritten, informal DHS policy limiting        in a case challenging agency implementation of the Foreign
access to asylum at border was APA-reviewable); Washington         Aid EO, exempting agency action from APA oversight just
v. U.S. DHS, 614 F. Supp. 3d 863, 872–73 (W.D. Wash. 2020)         because it purports to carry out presidential policy “would
(same as to unwritten CBP policy of courthouse arrests of          allow the President and agencies to simply reframe agency
noncitizens).                                                      action as orders or directives originating from the President to
                                                                   avoid APA review.” AIDS Vaccine Advoc. Coal. v. U.S. Dep't
                                                                   of State, Nos. CV 25-00400 (AHA), ––– F.Supp.3d ––––,
                                                                   ––––, 2025 WL 485324, at *5 (D.D.C. Feb. 13, 2025) (finding
b. Agency Defendants cannot evade APA review merely by
                                                                   likelihood of success on merits of APA claim challenging
claiming they are implementing executive orders.
                                                                   agency implementation of Foreign Aid EO).
Because the “President is not an agency within the meaning of
the [APA],” Presidential actions, including executive orders,      To make an even finer point, this case is distinguishable
are immune from APA review. Franklin, 505 U.S. at 796, 112         from Detroit Int'l Bridge Co. in two key respects. First, the
S.Ct. 2767. Attempting to expand this rule, Defendants argue       USRAP EO itself is unlawful. Supra § 3.3. Defendants cite
that agency actions implementing executive orders are also         no authority indicating that an ultra vires Executive Order can
immune from APA review. Dkt. No. 31 at 26.                         shield agency actions—even those that merely color within
                                                                   the lines of the Order—from APA review.
In support of this argument, Defendants cite just one authority,
an out-of-circuit district court case: Detroit Int'l Bridge Co.    Second, the Agency Suspension and Refugee Funding
v. Gov't of Can., 189 F. Supp. 3d 85, 99–104 (D.D.C. 2016).        Ban do not merely color within the lines. Unlike the
There, the plaintiffs brought an APA challenge to DOS's            permit issuance in Detroit Int'l Bridge Co., these are not
issuance of a “Presidential permit” for the construction of        ministerial implementations, sans discretion, of Presidential
an international bridge. Id. The court found that the permit       authority. Rather, they represent substantive expansions of the
issuance was not an APA-reviewable “agency action” because         Executive Orders they purport to carry out. A brief look at
DOS issued the permit at the statutorily authorized direction      each agency action clarifies this point.
of the President, with no agency discretion. Id. Defendants
assert that the Refugee Funding Suspension and Agency              Defendants claim they enacted the Refugee Funding
Suspension, because they merely implement the USRAP EO             Suspension to comply with the Foreign Aid EO. But
and Foreign Aid EO, are analogous to the permit issuance in        the Foreign Aid EO calls only for a pause in “foreign
Detroit Int'l Bridge Co.                                           development assistance.” Foreign Aid EO § 3(a). It says
                                                                   nothing about USRAP or refugees. See generally id.
 *15 Not so. The Ninth Circuit has held that “[n]o language        Without explanation, the State Department construed the
in the APA prevents or excepts review of an agency action          term “foreign development assistance” to include funding for
that implements a presidential action.” State v. Su, 121           USRAP programs—even including programs Congress has
F.4th 1, 15 (9th Cir. 2024). “[F]inal agency actions, even         expressly characterized as “domestic.” See 8 U.S.C. § 1522(a)
if implementing an executive order, are subject to judicial        (3) (“domestic assistance” to refugees). This surprising
review under the APA.” Id. The Ninth Circuit decision in E.        construction indicates vast agency discretion.
Bay Sanctuary Covenant v. Trump provides clear guidance.
932 F.3d 742, 770–71 (9th Cir. 2018). There, plaintiffs            The Agency Defendants also claim they enacted the Agency
brought an APA challenge to an agency rule that purported          Suspension in compliance with the USRAP EO. But the
to implement a Presidential Proclamation calling for the           USRAP EO, on its face, authorizes the Secretaries of
suspension of migrant entry on the southern border outside         State and Homeland Security to “jointly determine ... in
ports of entry. Id. The Ninth Circuit held that while it did       their discretion” to admit refugees on a “case-by-case
“not have any authority under § 706 of the APA to review the       basis.” USRAP EO, § 3(c) (emphasis added). Armed
                                                                   with this discretion, the Agency Defendants opted not to



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             Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                 Document 84-2           Filed 04/04/25          Page 16 of 24


create a process to consider case-by-case admissions before        Suspension and Refugee Funding Suspension each represent
implementing a total cessation of refugee travel into the          the consummation of an internal administrative decision-
country—a full week before the date called for in the              making process, even if opaque. The Court concludes that
EO. Additionally, while the USRAP EO calls only for                the Refugee Funding Suspension and Agency Suspension
the suspension of refugee case decisions and admissions,           are final agency actions subject to APA review. See Nat'l
the Agency Suspension also suspended all case processing,          Council of Nonprofits v. OMB, No. 25-239 (LLA), –––
effectively shuttering USRAP operations.                           F.Supp.3d ––––, ––––, 2025 WL 368852, at *11 (D.D.C. Feb.
                                                                   3, 2025) (in case challenging similar “pause” to funding and
That Defendants allege these extraordinary actions were            disbursements, finding that “[b]y any measure, Defendants’
taken to carry out the President's Executive Orders does           action[s] led to legal consequences and constituted final
not immunize them from APA review. See, e.g., Tate v.              agency action”).
Pompeo, 513 F. Supp. 3d 132, 143 (D.D.C. 2021) (“The
means by which the Secretary implements the Proclamations
are therefore within the discretion of the Secretary, are
                                                                   d. Plaintiffs’ APA claims challenging the Refugee Funding
not dictated by the Proclamations themselves, and require
                                                                   Suspension are not subject to the exclusive jurisdiction of the
the Secretary to exercise judgment.”); Milligan v. Pompeo,
                                                                   United States Court of Federal Claims.
502 F. Supp. 3d 302, 314 (D.D.C. 2020) (“State's action—
suspending visa adjudications when the Proclamation merely         Defendants’ final argument against APA-reviewability
directs the suspension of ‘entry’—thus required the agency to      pertains only to the Refugee Funding Suspension. According
exercise its judgment.”).                                          to Defendants, Plaintiffs’ challenge to the Refugee Funding
                                                                   Suspension is ultimately a contract claim alleging a breach
                                                                   of the terms of the agreements between USRAP nonprofit
c. The Agency Suspension and Refugee Funding Ban are               partners and the government—and is therefore subject to the
“final agency actions” within the meaning of the APA.              exclusive jurisdiction of the United States Court of Federal
                                                                   Claims.
 *16 Defendants argue that because the Agency Suspension
and Refugee Funding Suspension are temporary, they are not         Defendants provide almost no briefing to support this
“final agency actions” subject to APA review. They point out       position. But reading between the lines, their argument seems
that the Foreign Aid EO provides for a 90-day suspension           to invoke the relationship among Sections 702 and 704 of
of funding assistance; the USRAP EO provides for a 90-             the APA and the Tucker Act. Section 702 states that claims
day suspension of refugee admissions; and both EOs call            against the federal government challenging agency actions
for a Presidential determination after 90 days of whether to       are not barred by sovereign immunity—except for “money
lift the suspension. On this basis, Defendants assert that the     damages” claims. 5 U.S.C. § 702. In other words, claims
agency actions implementing the temporary suspensions are          seeking “money damages” from the government, including
not “final” within the meaning of 5 U.S.C. § 704 (authorizing      contractual damages, are barred by sovereign immunity and
review of “final agency action”).                                  cannot proceed under the APA. Section 704 provides that
                                                                   only agency actions “for which there is no other adequate
But the fact that the challenged actions are ostensibly            remedy in a court” are subject to APA review. Id. § 704.
temporary is immaterial—for, as Plaintiffs point out, “all         That is, if a claim could be brought, for example, in the
agency actions are subject to future change.” Dkt. No. 36 at 9.    Court of Federal Claims, it cannot proceed under the APA.
Under the well-settled standard, an agency action is final if it   Finally, the Tucker Act provides that the Court of Federal
(1) marks the “consummation of the agency's decisionmaking         Claims has “jurisdiction to render judgment upon any claim
process” and (2) is “one by which rights or obligations have       against the United States founded ... upon any express or
been determined, or from which legal consequences flow.”           implied contract with the United States, or for liquidated
Bennett v. Spear, 520 U.S. 154, 177–78, 117 S.Ct. 1154,            or unliquidated damages in cases not sounding in tort.” 28
137 L.Ed.2d 281 (1997). Defendants do not dispute that             U.S.C. § 1491(a)(1). Synthesizing these provisions, the Court
the Agency Suspension and Refugee Funding Suspension               understands Defendants to be arguing that Plaintiffs’ claims
produce “legal consequences” for USRAP nonprofit partners,         challenging the Refugee Funding Suspension—because they
refugees, and others. Nor do they dispute that the Agency          seek money damages for a breach of contract and could



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            Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                Document 84-2           Filed 04/04/25         Page 17 of 24


therefore be brought in the Court of Federal Claims—satisfy
neither the Section 702 waiver of sovereign immunity nor the         3.4.2 The Refugee Funding Suspension and Agency
Section 704 no-other-adequate-forum requirement.                     Suspension are contrary to law and exceeded the
                                                                     Agency Defendants’ statutory authority.
 *17 This argument, even when properly formulated, misses         Under the APA, reviewing courts must “hold unlawful and
the mark. As the Supreme Court clarified in Bowen v.              set aside agency action ... found to be ... not in accordance
Massachusetts, “[t]he fact that a judicial remedy may require     with law”; “contrary to constitutional right [or] power”;
one party to pay money to another is not a sufficient reason      or “in excess of statutory jurisdiction [or] authority.” 5
to characterize the relief as ‘money damages’ ” within the        U.S.C. § 706(2)(A)–(C). Plaintiffs argue that the Agency
meaning of Section 702. 487 U.S. 879, 893, 108 S.Ct. 2722,        Suspension and Refugee Funding Suspension exceed the
101 L.Ed.2d 749 (1988) (holding that federal district court,      Agency Defendants’ statutory authority and are not in
not Court of Federal Claims, has jurisdiction to review federal   accordance with law. See 5 U.S.C. § 706(2)(A), (C). The
agency action denying reimbursements owed for Medicaid            Court agrees.
expenditures). The Bowen Court carefully distinguished
money damages, which “are given to the plaintiff to substitute    To begin with, the Refugee Funding Suspension and Agency
for a suffered loss,” from specific remedies, which “are not      Suspension, like the USRAP EO, contradict the clear
substitute remedies at all, but attempt to give the plaintiff     intent of Congress “to provide a permanent and systematic
the very thing to which he was entitled.” Id. at 895, 108         procedure for the admission to this country of refugees ...
S.Ct. 2722 (quotations omitted) (emphasis original); see also     and to provide comprehensive and uniform provisions for
Tucson Airport Auth. v. Gen. Dynamics Corp., 136 F.3d 641,        the effective resettlement and absorption of those refugees
645 (9th Cir. 1998) (“An action for specific performance is       who are admitted.” Refugee Act of 1980, Pub. L. No.
not an action for ‘money damages’ under APA § 702, even           96-212, § 101(b), 94 Stat. 102. The Court has already
if the remedy may actually require a payment of money by          concluded that the President lacks authority to nullify the
the government.”). The Bowen Court made crystal-clear that        Refugee Act. Supra § 3.3. The same applies a fortiori
when a party suing the federal government “seek[s] funds          to the Agency Defendants, who unlike the President, lack
to which a statute allegedly entitles it, rather than money in    authority to suspend admissions under Section 1182(f).
compensation for the losses,” such a claim is not excepted        Counsel for the government conceded this point at oral
from Section 702’s sovereign-immunity waiver. Bowen, 487          argument, distinguishing Doe v. Trump, 288 F. Supp. 3d 1045
U.S. at 896, 108 S.Ct. 2722.                                      (W.D. Wash. 2017), on the grounds that the “suspension [in
                                                                  Doe] was issued by the Secretary of State, so it was not
As in Bowen, Plaintiffs here “do not bring breach-of-contract     based on [Section 1182(f)] precedential authority.” See Doe,
claims for money damages.” Dkt. No. 36 at 13. “Instead, they      288 F. Supp. 3d at 1080 (“DHS Secretary [could not] simply
challenge agency actions suspending all USRAP processing          ignore the ‘permanent and systematic procedure’ for refugee
and funding for USRAP and resettlement assistance and             admission and resettlement that Congress established in the
seek an injunction and ultimately vacatur of those unlawful       Refugee Act of 1980.”).
actions.” Id. Plaintiffs could not obtain these remedies in
the Court of Federal Claims, which “has no power to grant         The lawfulness of the Refugee Funding Suspension merits
equitable relief[.]” Richardson v. Morris, 409 U.S. 464, 465,     particular scrutiny here because the Refugee Funding
93 S.Ct. 629, 34 L.Ed.2d 647 (1973).                              Suspension claims support from the Foreign Aid EO, not the
                                                                  USRAP EO, and therefore exhibits statutory infirmities not
Because Plaintiffs could not obtain the equitable relief they     already discussed in the Court's analysis of the USRAP EO,
seek outside federal district court—and because Plaintiffs        supra § 3.3. In particular, the Refugee Funding Suspension
seek specific remedies, not damages—the Court rejects             contradicts the clear will of Congress, codified in Section
Defendants’ final argument about non-reviewability. The           1522 of the INA, to create a federally funded system to
Court concludes that the Refugee Funding Suspension and           support domestic refugee resettlement.
Agency Suspension are final agency actions properly subject
to APA review.                                                     *18 Defendants argue that “[w]hile it is true that §
                                                                  1522(b) ... authorizes the Secretary of State ‘to make
                                                                  grants to, and contracts with, ... nonprofit agencies” for
                                                                  resettlement services, “nothing requires the Secretary to


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            Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                   Document 84-2         Filed 04/04/25          Page 18 of 24


exercise this authority at all or to any specific degree.”
Dkt. No. 31 at 28. The Court disagrees. The Statute                   3.4.3 The Agency Suspension did not comply
mandates the Agency Defendants to administer the domestic             with required procedures of notice-and-comment
refugee resettlement program. See 8 U.S.C. §§ 1521–24.                rulemaking.
Congress appropriates funds, and the agencies are required,        Plaintiffs argue that the Court must hold unlawful and
“to the extent of available appropriations,” to ensure             set aside the Refugee Funding Suspension and Agency
the provision of support services for resettled refugees           Suspension because they amount to substantive, or
—including employment training and placement, English              legislative, rulemakings “without observance of procedure
language teaching, and direct cash support. 8 U.S.C. §             required by law.” See 5 U.S.C. § 706(2)(D). “Under
1522(a). The statutory scheme envisions that the federal           the APA, a federal administrative agency is required to
agencies will meet this obligation by entering contract            follow prescribed notice-and-comment procedures before
and grant relationships with nonprofit service providers. 8        promulgating substantive rules.” Colwell v. Dep't of Health &
U.S.C. § 1522(a)–(d). “Each [such] grant or contract ...           Hum. Servs., 558 F.3d 1112, 1124 (9th Cir. 2009); see 5 U.S.C.
shall require the [nonprofit] agency to,” among other things,      § 553 (notice-and-comment rulemaking procedures). Under
“fulfill its responsibility to provide for the basic needs         these required procedures, federal agencies must “publish
(including food, clothing, shelter, and transportation for job     notice of proposed rules in the Federal Register and then
interviews and training) of each refugee resettled and to          allow ‘interested persons an opportunity to participate in the
develop and implement a resettlement plan including the early      rule making through submission of written data, views, or
employment of each refugee resettled and to monitor the            arguments with or without opportunity for oral presentation.’
implementation of such plan.” 8 U.S.C. § 1522(b)(7)(D).            ” E. Bay Sanctuary Covenant, 932 F.3d at 775 (quoting 5
                                                                   U.S.C. § 553(c)). “The ‘agency must consider and respond
By withholding funding, the Agency Defendants likely act           to significant comments received during the period for public
contrary to law not only by abdicating their own obligations       comment.’ ” Id. (quoting Perez v. Mortg. Bankers Ass'n, 575
to fund and administer the program but also by prohibiting         U.S. 92, 135 S. Ct. 1199, 1203, 191 L.Ed.2d 186 (2015)).
resettlement partners from complying with their statutory          “These procedures are ‘designed to assure due deliberation’
obligations. And given that neither the USRAP EO nor the           of agency regulations and ‘foster the fairness and deliberation
Foreign Aid EO call for the defunding of the domestic              that should underlie a pronouncement of such force.’ ” Id.
refugee resettlement program, the Court is not inclined the        (quoting United States v. Mead Corp., 533 U.S. 218, 230, 121
credit the ostensibly temporary nature of those Orders as a        S.Ct. 2164, 150 L.Ed.2d 292 (2001)).
factor weighing against the illegality of the Refugee Funding
                                                                   Defendants do not dispute that the Agency Defendants
Suspension.6
                                                                   enacted the Agency Suspension and Refugee Funding Ban
                                                                   without following notice-and-comment procedures. Nor do
6      The Court notes that the Refugee Funding Suspension         they invoke the “good cause” or “foreign affairs” exceptions
       also likely violates the Congressional Budget and           to Section 553. See 5 U.S.C. §§ 553(a)(1), 553(b)(B).
       Impoundment Control Act (ICA), 2 U.S.C. § 682 et
                                                                   Instead, they argue that their actions merely implemented
       seq., though the parties did not address this issue.
                                                                   the President's Orders, and thus were not subject to APA
       The ICA restricts the Executive's ability to defer
                                                                   procedures. Dkt. No. 31 at 29. But as discussed above, the
       spending appropriated funds through both procedural
       and substantive requirements. See 2 U.S.C. §§ 682(1)
                                                                   Agency Suspension and Refugee Funding Suspension are not
       (A), 684(a), (b). The Refugee Funding Suspension            mere ministerial implementations of Executive Orders; they
       withholds congressionally appropriated USRAP funds          are discretionary—and far-reaching—final agency actions.
       indefinitely, likely constituting a “deferral of budget     See supra § 3.4.1(b). Thus, Defendants’ argument is
       authority” under the ICA. See id. § 682(1)(A). It appears   unavailing.
       from the record that neither the procedural nor the
       substantive requirements were met here. But as the           *19 The Court agrees with Plaintiffs that the agency actions
       Parties did not brief the ICA, the Court will not decide    at issue qualify as substantive, or legislative, rules. Under
       this motion on ICA grounds.                                 the APA, a “rule” is “the whole or a part of an agency
                                                                   statement of general or particular applicability and future
                                                                   effect designed to implement, interpret, or prescribe law or
                                                                   policy[.]” 5 U.S.C. § 551(4). An action need not be in writing


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             Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                  Document 84-2            Filed 04/04/25            Page 19 of 24


to be a rule; otherwise, an agency could “shield its decisions      that the Refugee Funding Ban qualifies as a “matter relating
from judicial review simply by refusing to put those decisions      to ... grants, benefits, or contracts” and is therefore likely
in writing.” Grand Canyon Tr. v. Pub. Serv. Co. of New              exempt from Section 553 procedural requirements. Of course,
Mexico, 283 F. Supp. 2d 1249, 1252 (D.N.M. 2003). Rules are         this does not exempt it from Section 706. Thus, that the
distinct from “adjudications” in that adjudications “resolve        Refugee Funding Suspension is arbitrary, capricious, and
disputes among specific individuals in specific cases, whereas      contrary to law is sufficient to set it aside.
rulemaking affects the rights of broad classes of unspecified
individuals.” Yesler Terrace Cmty. Council v. Cisneros, 37          7       In their reply brief, Plaintiffs state that “Defendants
F.3d 442 (9th Cir. 1994). And legislative, or substantive, rules            have not asserted that any exceptions to the notice-
are distinct from interpretive rules in that they “create rights,           and-comment rulemaking requirement apply, and those
impose obligations, or effect a change in existing law[.]”                  arguments are now forfeited.” Dkt. No. 36 at 12. This is
Hemp Indus. Ass'n v. DEA, 333 F.3d 1082, 1087–88 (9th Cir.                  false. See Dkt. No. 31 at 29 (opposition brief) (stating,
2003). Interpretive rules “merely explain, but do not add to,               with no further analysis, that “any activity relating to
the substantive law that already exists in the form of a statute            the pause in funding necessarily involves ‘loans, grants,
or legislative rule.” Id.                                                   benefits, or contracts’ ”).


The Agency Suspension and Refugee Funding Suspension                  3.4.4 The Refugee Funding Suspension and Agency
are substantive, or legislative, rules because they effect            Suspension are arbitrary and capricious.
legal changes of general applicability. They terminate all          Plaintiffs argue that the Agency Suspension and Refugee
USRAP case processing, decisions, admissions, and travel,           Funding Suspension must also be set aside under Section
and they block all funding to USRAP partner nonprofits.             706(2)(A) for the separate reason that they are arbitrary and
The fact that they effectively nullify pre-existing regulations     capricious. Dkt. No. 14 at 25. The Court agrees.
that were themselves codified through notice-and-comment
rulemaking only bolsters this conclusion. See Aliens and             *20 “Under the arbitrary and capricious standard, our scope
Nationality; Refugee and Asylum Procedures, 46 Fed. Reg.            of review is narrow and deferential.” Arrington v. Daniels,
45,116 (Sept. 10, 1981) (to be codified at 8 C.F.R. § 207);         516 F.3d 1106, 1112 (9th Cir. 2008). “Agency action is valid
Procedures for Filing a Derivative Petition (Form I–730) for        ‘if a reasonable basis exists for [the agency's] decision.’ ”
a Spouse and Unmarried Children of a Refugee/Asylee, 63             Id. (quoting Kern County Farm Bureau v. Allen, 450 F.3d
Fed. Reg. 3792 (Jan. 27, 1988) (to be codified at 8 C.F.R. §        1072, 1076 (9th Cir. 2006)). “A reasonable basis exists where
207.7); Doe, 288 F. Supp. 3d at 1075 (“Where the original           the agency ‘considered the relevant factors and articulated a
rule was adopted after a notice and comment period, courts          rational connection between the facts found and the choices
have generally found the decision to alter those rules to           made.’ ” Id. (quoting Ranchers Cattlemen Action Legal Fund
be substantive, and therefore subject to APA rulemaking             v. U.S. Dep't of Agriculture, 415 F.3d 1078, 1093 (9th Cir.
procedures as well.” (citing cases)). The Court thus concludes      2005)). “Although we may uphold a decision of less than
that Plaintiffs are likely to succeed on their claim that the       ideal clarity if the agency's path may reasonably be discerned,
Agency Suspension violates the procedural requirements of           we may not infer an agency's reasoning from mere silence.”
the APA.                                                            Id. (citations and quotation marks omitted). Thus, an agency
                                                                    bears the burden to “show that there are good reasons for
But the Court does not reach the same conclusion with respect       the new policy.” FCC v. Fox Television Stations, Inc., 556
to the Refugee Funding Suspension. The APA expressly                U.S. 502, 515, 129 S.Ct. 1800, 173 L.Ed.2d 738 (2009). And
excepts “matter[s] relating to ... loans, grants, benefits,         where an agency action rescinds a prior policy, the agency
or contracts” from the procedural requirements of Section           must show consideration of both “serious reliance interests,”
553 notice-and-comment rulemaking. 5 U.S.C. § 553(a)(2).            id., as well as “alternatives ... within the ambit of the existing
This “statutory exception ‘cuts a wide swath through the            policy.” DHS v. Regents of Univ. of Cal., 591 U.S. 1, 30, 140
safeguards generally imposed on agency action[.]’ ” Alcaraz         S.Ct. 1891, 207 L.Ed.2d 353 (2020) (cleaned up).
v. Block, 746 F.2d 593, 611 (9th Cir. 1984) (quoting Good
Samaritan Hospital, Corvallis v. Mathews, 609 F.2d 949, 953         The Court applies these review standards first to the Agency
(9th Cir. 1979)). The parties provided almost no briefing on        Suspension, then to the Refugee Funding Suspension.
this issue.7 Nevertheless, the Court is preliminarily persuaded



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            Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                   Document 84-2        Filed 04/04/25          Page 20 of 24


As discussed throughout this Order, the Agency Suspension         no explanation, construed the Foreign Aid EO as requiring
substantively expanded the USRAP EO in at least three ways.       the total suspension of all funding for USRAP operations—
First, it terminated all refugee travel into the United States    including, contrary to reason, funding for domestic refugee
a full week prior to the date called for in the USRAP EO.         resettlement support. See Dkt. No. 31-1 ¶¶ 24–27.
Dkt. No. 31-1 ¶ 20. Second, it terminated not just all case
decisions and admissions, but also all USRAP case processing       *21 As with the Agency Suspension, the Agency
and operations—effectively shuttering the program. See Dkt.       Defendants provided no reasoned explanation for the
No. 15-24 ¶ 25. And third, where the USRAP EO expressly           Refugee Funding Suspension. Defendants’ counsel states
authorized the Secretaries of State and Homeland Security         that Secretary Rubio issued the Suspension Notices
to “jointly determine to admit aliens to the United States as     because USRAP-related funding “is appropriated under the
refugees on a case-by-case basis,” USRAP EO § 3(c), the           ‘Migration and Refugee Assistance’ (MRA) heading of title
Agency Defendants discretionarily opted not to create such        III of the Department of State, Foreign Operations, and
a system for case-by-case admissions before terminating all       Related Programs Appropriations Act (SFOAA)”—which
refugee entry into the country. See Dkt. No. 31-1 ¶ 22 n.2.       was paused in response to the Foreign Aid EO. Id. This
                                                                  is no explanation at all. Defendants effectively concede
The Agency Defendants provided no explanation whatsoever          that Secretary Rubio discretionarily halted USRAP funding
for these substantive expansions of the USRAP EO.                 yet give no insight into the reasons for that decision. Nor
They did not, as is required under arbitrary-and-capricious       did the Agency Defendants apparently consider reasonable
review, acknowledge, let alone meaningfully consider, the         alternatives. See AIDS Vaccine, ––– F.Supp.3d at ––––, 2025
reliance interests of refugees, U.S. citizens, and resettlement   WL 485324, at *5 (D.D.C. Feb. 13, 2025) (“Defendants have
nonprofits harmed by their actions. Nor did they articulate       not offered any explanation for why a blanket suspension of
any consideration of alternative options—such as the              all congressionally appropriated foreign aid, which set off
implementation of a case-by-case admissions system at the         a shockwave and upended reliance interests for thousands
discretion of the Secretaries of State and Homeland Security      of agreements with businesses, nonprofits, and organizations
—that might mitigate the harms of the Agency Suspension.          around the country, was a rational precursor to reviewing
Instead, they merely cite the USRAP EO as a justification for     programs.”).
their actions. But the USRAP EO—which is itself unlawful
—cannot, on its face, explain the Agency Defendants’              Additionally, the State Department did not acknowledge the
discretionary expansions of the USRAP EO.      8                  apparent deviation from its own regulations implementing
                                                                  the Refugee Act. See 2 C.F.R. § 600.101 (incorporating by
8                                                                 reference id. § 200.305(b)(6)); see California v. Bureau of
       Defendants advance the remarkable position that
                                                                  Alcohol, Tobacco, Firearms, & Explosives, 718 F. Supp. 3d
       suspending refugee admissions before the cutoff
                                                                  1060, 1085 (N.D. Cal. 2024) (“Some courts have concluded
       specified in the USRAP order was somehow an act of
       compassion—a preemptive attempt to prevent incoming        that an agency's failure to comply with its own regulations is
       refugees from being “stranded at U.S. ports of entry[.]”   ‘not in accordance with law’ for purposes of the APA. Other
       Dkt. No. 31-1 ¶20. This explanation rings hollow,          courts have held that, when an agency fails to comply with its
       however, when confronted with the real-world impact on     own regulations, it has acted arbitrarily and capriciously for
       refugees like Plaintiff Pacito—who had already sold his    purposes of the APA.” (citations omitted)). Those regulations
       belongings, terminated his housing lease, and prepared     expressly provide that “[p]ayments for allowable costs must
       for imminent departure. As courts have repeatedly held,    not be withheld ... unless required by Federal statute,
       post hoc rationalizations cannot retroactively justify     regulations, or” if “[t]he recipient ... has failed to comply
       agency actions lacking a rational basis. Arrington, 516    with the terms and conditions of the Federal award” or “is
       F.3d at 1113.
                                                                  delinquent in a debt to the United States.” See 2 C.F.R. §
The Refugee Funding Suspension likewise went far beyond           200.305(b)(6). None of those conditions appear to be met
the text of the Foreign Aid EO that it purported to implement.    here.
As discussed above, the Foreign Aid EO calls only for a pause
in “foreign development assistance” and says nothing about        In sum, the Court finds that the Plaintiffs are likely to
USRAP, refugee case processing, or refugee services. Foreign      prove that the Agency Suspension and the Refugee Funding
Aid EO § 3(a). Nevertheless, the Agency Defendants, with



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             Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                  Document 84-2           Filed 04/04/25          Page 21 of 24


Suspension are arbitrary and capricious and must therefore be       meaningful manner.” Mathews v. Eldridge, 424 U.S. 319, 333,
set aside under the APA.                                            96 S.Ct. 893, 47 L.Ed.2d 18 (1976). In evaluating whether
                                                                    due process requirements have been satisfied, courts consider
                                                                    three factors: (1) the private interest affected by government
3.5 Plaintiffs are likely to succeed on their claims that           action; (2) the risk of erroneous deprivation through the
Defendants violate the due process rights of follow-to-join         procedures used and the value of additional safeguards; and
petitioners.                                                        (3) the government's interest. Rodriguez Diaz v. Garland, 53
Plaintiffs contend that suspending USRAP violates the due           F.4th 1189, 1207 (9th Cir. 2022).
process rights of follow-to-join petitioners, including Plaintiff
Esther. Dkt. No. 1 ¶¶ 228–29. The Defendants counter that           Applying these principles, the Court finds that Plaintiff
this “procedural due process claim” lacks merit, mainly             Esther's interest in her daughter's admission is substantial.
relying on Department of State v. Muñoz, 602 U.S. 899, 909,         After eight years of pursuing her petition, when her daughter
144 S.Ct. 1812, 219 L.Ed.2d 507 (2024). Dkt. No. 31 at              was finally “on the verge of travel,” Esther learned, with no
25. This argument misapprehends the fundamental distinction         prior notice or opportunity to be heard, that her daughter's
between this case and Muñoz.                                        admission was indefinitely suspended. See Dkt. No. 15-15.

In Muñoz, the Supreme Court addressed whether a United              And given the Court's conclusion that the Executive Order is
States citizen possessed a constitutional liberty interest in       itself likely unlawful, supra § 3.3, the government's interests
having her foreign-national spouse admitted to this country.        cannot justify this procedural deficiency. The government has
The plaintiff there asserted that the right to live with her        no legitimate interest in enforcing an order that exceeds its
noncitizen spouse was “implicit in the ‘liberty’ protected by       statutory authority. See State v. Trump, No. C25-0127-JCC,
the Fifth Amendment,” and claimed that the unexplained              ––– F.Supp.3d ––––, ––––, 2025 WL 415165, at *6 (W.D.
denial of her husband's visa application violated this interest.    Wash. Feb. 6, 2025) (“[T]he Government has no legitimate
602 U.S. at 902–03, 144 S.Ct. 1812. The Court rejected              interest in enforcing an Order that is likely unconstitutional
this position, finding no unenumerated constitutional right to      and beyond its authority.”).
secure a noncitizen spouse's entry into the United States. Id.
at 903, 144 S.Ct. 1812.                                             Accordingly, the Court finds that Plaintiffs are likely to
                                                                    succeed on their due process claim.
Here, in contrast, Esther's interest stems not from
constitutional implications but from a specific statutory
entitlement. Under 8 U.S.C. § 1157(c)(2)(A), spouses and            3.6 Plaintiffs will face irreparable harm without
children of refugees “shall be entitled to the same admission       immediate injunctive relief.
status” when following to join the principal refugee. This          Plaintiffs seeking a preliminary injunction must show that
mandatory language establishes a substantive right, not a           they are likely to suffer irreparable harm without preliminary
discretionary privilege. Other courts examining this statute        relief. Winter, 555 U.S. at 20, 129 S.Ct. 365. A “showing of
have reached the same conclusion. See Doe, 288 F. Supp. 3d          a mere possibility of irreparable harm is not sufficient under
at 1078–79.                                                         Winter.” Earth Island Inst. v. Carlton, 626 F.3d 462, 468 (9th
                                                                    Cir. 2010). Plaintiffs have easily met their burden here.
Ninth Circuit precedent recognizes that procedural due
process protections attach to liberty interests grounded in         The individual plaintiffs submit declarations showing the
“nonconstitutional law, such as a statute.” Khachatryan v.          USRAP EO, Agency Suspension, and Refugee Funding
Blinken, 4 F.4th 841, 855 (9th Cir. 2021). The mandatory            Suspension have caused them irreparable harm—plaintiffs
language in § 1157(c)(2)(A) creates precisely such an interest      stranded abroad face physical danger and financial hardship
—an entitlement for refugees’ eligible family members to            after cancelling travel plans and selling their possessions;
receive the same refugee status, which in turn gives rise           several plaintiffs suffer ongoing separation from family
to procedural protections before that entitlement can be            members in the U.S.; and plaintiffs who have recently arrived
suspended.                                                          to the U.S. have been cut off from critical resettlement
                                                                    benefits and support services needed to establish their new
 *22 The fundamental requirement of due process is “the             lives in America. These harms compound daily and cannot be
opportunity to be heard at a meaningful time and in a               remedied after the fact. See, e.g., E. Bay Sanctuary Covenant


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             Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                 Document 84-2            Filed 04/04/25          Page 22 of 24


v. Biden, 993 F.3d 640, 677 (9th Cir. 2021) (economic              And the Government's suggestion that Plaintiffs cannot
harm is irreparable “where parties cannot typically recover        demonstrate irreparable harm because the refugee
monetary damages flowing from their injury—as is often             resettlement process is already slow-moving fundamentally
the case in APA cases”); Washington v. Trump, 847 F.3d             misunderstands both the nature of preliminary injunctive
at 1169 (“separated families” constitute irreparable harm);        relief and the concrete evidence of harm in this case. That
Leiva-Perez v. Holder, 640 F.3d 962, 969–70 (9th Cir. 2011)        refugees often wait months or years for processing does not
(per curiam) (recognizing that “important [irreparable harm]       negate the immediate and irreparable nature of the injuries
factors include separation from family members” (cleaned           caused by the Government's abrupt suspension of the entire
up)); Al Otro Lado, Inc. v. McAleenan, 423 F. Supp. 3d             refugee program. The fact that some of the threatened harms
848, 876–77 (S.D. Cal. 2019) (threat of physical danger to         may not occur for several months is not reason, by itself,
refugees is irreparable harm); Doe v. Trump, 288 F. Supp. 3d       to deny a preliminary injunction. Privitera v. California
1045, 1082 (W.D. Wash. 2017) (prolonged family separation,         Bd. of Med. Quality Assur., 926 F.2d 890, 897 (9th Cir.
including in context of refugee suspension, constitutes            1991) (improper to deny preliminary injunction only because
irreparable harm); cf. Leiva-Perez, 640 F.3d at 969 (likelihood    license revocation hearing was three months away); see also
of physical danger if asylum-seeker is returned to his or her      Joint Bd. of Control of Flathead, Mission and Jocko Irr. Dist.
home country is part of irreparable harm inquiry).                 v. United States, 646 F. Supp. 410, 419 (D. Mont. 1986) rev'd
                                                                   on other grounds by 832 F.2d 1127 (9th Cir. 1987) (holding
 *23 The organization plaintiffs will suffer a similar fate        “future injury of uncertain date and incalculable magnitude
absent an injunction. The record shows that they face              is irreparable harm, and protection from such injury is a
devastating and irreparable harm from the Refugee Funding          legitimate end of injunctive relief”); Phillips v. Crown Cent.
Suspension, which has frozen over $100 million in anticipated      Petroleum Corp., 602 F.2d 616, 630 (4th Cir. 1979) (same).
revenue and thrown them into a cash-flow crisis. This              The Government's position, taken to its logical conclusion,
has forced them to furlough or lay off hundreds of staff           would mean that no refugee could ever obtain preliminary
members, cancel obligations, and halt essential refugee            injunctive relief for a denial of entry into the country or life-
services. This is an existential threat to their survival, as      sustaining resettlement services because the USRAP process
the combination of staff reductions, loss of institutional         is inherently long. This cannot be correct.
knowledge, damaged community partnerships, and declining
service quality threatens to permanently shut down their           The evidence overwhelmingly shows that both individual
operations. Under established legal precedents, these injuries     and organizational plaintiffs face concrete, immediate, and
all constitute irreparable business harm. See, e.g., HiQ Labs,     irreparable harms that can be prevented only through
Inc. v. LinkedIn Corp., 31 F.4th 1180, 1188 (9th Cir. 2022)        preliminary injunctive relief. Thus, the Court finds that the
(“[T]he threat of being driven out of business is sufficient to    second Winter factor—irreparable harm—is met here.
establish irreparable harm[.]” (cleaned up)); Doran v. Salem
Inn, Inc., 422 U.S. 922, 932, 95 S.Ct. 2561, 45 L.Ed.2d
648 (1975) (“a substantial loss of business” and prospect of       3.7 The balance of equities and public interest favor a
“bankruptcy” constitute irreparable harm).                         preliminary injunction.
                                                                   When considering a preliminary injunction motion, “district
The Government's arguments to the contrary are, to put             courts must ‘give serious consideration to the balance of
it charitably, unconvincing, as the Government tries to            equities and the public interest”—the third and fourth Winter
wave away concrete evidence of devastating harm to both            factors. Earth Island Inst., 626 F.3d at 475 (quoting Winter,
individual and organizational plaintiffs, offering instead the     555 U.S. at 27, 129 S.Ct. 365). In weighing the equities,
tepid suggestion that these injuries amount to mere economic       courts “balance the competing claims of injury” and “consider
inconvenience. But the record shows otherwise: refugees            the effect on each party of the granting or withholding of
stranded in dangerous conditions abroad, families who sold         the requested relief.” Winter, 555 U.S. at 24, 129 S.Ct. 365.
everything they owned before having travel cancelled, and          Weighing the public interest, on the other hand, “primarily
organizations facing the wholesale destruction of decades-         addresses impact on non-parties rather than parties.” CTIA -
worth of refugee resettlement infrastructure are not theoretical   The Wireless Ass'n v. City of Berkeley, Cal., 928 F.3d 832, 852
injuries that can be remedied by a check from the Treasury.        (9th Cir. 2019). When the Government is a party to a case,
                                                                   “the balance of the equities and public interest factors merge.”



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            Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                Document 84-2            Filed 04/04/25           Page 23 of 24


Padilla v. Immigr. & Customs Enf't, 953 F.3d 1134, 1141 (9th      border, not legally admitted refugees who arrive with work
Cir. 2020).                                                       authorization and federal support for resettlement. This
                                                                  clarification undermines a central premise of the USRAP
 *24 As discussed above, the record shows concrete and            EO and highlights the disconnect between the Government's
severe harms to the individual and organizational plaintiffs      stated justifications and its sweeping actions.
flowing directly from the USRAP EO and its implementation.
These harms are mostly irreversible and warrant immediate         Thus, the balance of equities and the public interest—the third
intervention to stop more harm from befalling Plaintiffs.         and fourth Winter factors—tip sharply in Plaintiffs’ favor.
                                                                  CTIA, 928 F.3d at 841 (“[A] preliminary injunction could
In contrast, the Government offers only an abstract assertion     issue where the likelihood of success is such that ‘serious
about harm to executive authority over immigration matters.       questions going to the merits were raised and the balance
To be sure, the President has considerable discretion in          of hardships tips sharply in [plaintiff's] favor.’ ” (quoting
managing immigration and foreign affairs, but that authority      Cottrell, 632 F.3d at 1132)).
does not extend to actions that override Congress's carefully
crafted statutory schemes. The public interest is not served by
maintaining executive actions that conflict with federal law,     3.8 Scope of relief.
Valle del Sol Inc. v. Whiting, 732 F.3d 1006, 1029 (9th Cir.      In recent years, nationwide injunctions have sparked
2013) (no legitimate government interest in violating federal     significant debate. See Amanda Frost, In Defense of
law), particularly where those actions threaten to dismantle      Nationwide Injunctions, 93 N.Y.U. L. Rev. 1065, 1090 (2018).
a refugee resettlement infrastructure built over decades to       Relying on general critiques about the propriety of district
carry out Congress's expressed commitment to humanitarian         courts issuing such injunctions, the Government argues that
protection, see Doe v. Trump, 288 F. Supp. 3d at 1084             any injunctive relief here must be limited to the named
(collecting cases).                                               Plaintiffs only. Dkt. No. 31 at 26 (citing United States v.
                                                                  Texas, 599 U.S. 670, 694, 143 S.Ct. 1964, 216 L.Ed.2d 624
The USRAP EO also cites concerns about national security,         (2023) (Gorsuch, J., concurring)). The day may soon come
refugee assimilation, and preserving taxpayer resources. But      when the Supreme Court addresses the boundaries of the
Congress has already carefully addressed these precise issues     lower courts’ ability to issue nationwide injunctions, but until
through comprehensive legislation that requires thorough          then, district courts retain the flexibility to craft remedies that
security screening, provides structured support for integration   effectively address the actual harms at stake—and here, that
through established resettlement agencies, and includes           means nationwide relief.
detailed provisions for efficient use of public resources. The
Government has identified no deficiencies in these existing        *25 Our legal system has long recognized that “equitable
safeguards that would warrant wholesale suspension of the         remedies are a special blend of what is necessary, what is
refugee program. See Hawaii, 859 F.3d at 783, vacated             fair, and what is workable.” Lemon v. Kurtzman, 411 U.S.
on other grounds and remanded, 583 U.S. 941, 138 S.Ct.            192, 200, 93 S.Ct. 1463, 36 L.Ed.2d 151 (1973). For this
377, 199 L.Ed.2d 275 (2017) (equities tipped in plaintiffs        reason, “injunctive relief should be no more burdensome to
favor when “the Government ha[d] not put forth evidence of        the defendant than necessary to provide complete relief to the
injuries resulting from the preliminary injunction, or how the    plaintiffs.” Califano v. Yamasaki, 442 U.S. 682, 702, 99 S.Ct.
screening and vetting procedures in place before the [prior       2545, 61 L.Ed.2d 176 (1979).
refugee ban executive] Order was enjoined were inadequate
such that the Order should take immediate effect.”).              Here, complete relief for the named plaintiffs entails
                                                                  enjoining portions of the USRAP EO. That the benefits
Particularly striking is the position of the States whose         or protections of such an injunction would flow to other,
emergency declarations the Government invokes to justify          nonparties does not render such an injunction overbroad.
its actions. Dkt. No. 26-1. New York and Massachusetts—           Bresgal v. Brock, 843 F.2d 1163, 1170–71 (9th Cir. 1987)
joined by seventeen other states that together resettle nearly    (“[A]n injunction is not necessarily made over-broad by
half of all refugees in the United States—explain that their      extending benefit or protection to persons other than
emergency declarations addressed distinct circumstances           prevailing parties in the lawsuit—even if it is not a class action
involving asylum seekers and other migrants at the southern       —if such breadth is necessary to give prevailing parties the
                                                                  relief to which they are entitled.” (emphasis in original)); see


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             Case 1:25-cv-10495-IT
Pacito v. Trump, --- F.Supp.3d ---- (2025)
                                                 Document 84-2           Filed 04/04/25          Page 24 of 24


Hawaii v. Trump, 859 F.3d 741, 788 (9th Cir.), vacated and           1. Defendants, except for President Trump individually,
remanded, 583 U.S. 941, 138 S.Ct. 377, 199 L.Ed.2d 275                  and all Defendants’ respective officers, agents, servants,
(2017) (“Narrowing the injunction to apply only to Plaintiffs           employees, and attorneys, and any person in active
would not cure the statutory violations identified, which in all        concert or participation with them who receive actual
applications would violate provisions of the INA.”).                    notice of this Order, are fully ENJOINED from the
                                                                        following:
In any event, a partial or “fragmented” approach to an
injunction “would run afoul of the constitutional and                  a. Enforcing or implementing Executive Order 14163 §
statutory requirement for uniform immigration law and                     3(a), (b), and (c), and § 4 in its entirety;
policy. Washington v. Trump, 847 F.3d 1151, 1166–67
(9th Cir. 2017) (citing Texas v. United States, 809 F.3d               b. Suspending or implementing the suspension of
134, 187–88 (5th Cir. 2015)). “Congress has instructed                   refugee processing, decisions, and admissions;
that the immigration laws of the United States should be
                                                                       c. Suspending or implementing the suspension
enforced vigorously and uniformly, and the Supreme Court
                                                                         of USRAP funds, including implementing the
has described immigration policy as a comprehensive and
                                                                         Suspension Notices sent by the U.S. State Department
unified system.” Texas, 809 F.3d at 187–88 (footnotes and
                                                                         to all refugee and resettlement partners on January 24,
quotation marks omitted). A piecemeal approach would be
                                                                         2025;
impracticable, as the refugee resettlement system functions as
an integrated whole, with interconnected processes spanning             *26 d. Withholding reimbursements to resettlement
international borders and domestic agencies. Requiring the               partners for USRAP-related work performed pursuant
government to maintain parallel systems—one operational                  to cooperative agreements before January 20, 2025.
for the named Plaintiffs and one suspended for everyone else
—would create an administrative nightmare.                           2. Defendants’ attorneys must provide written notice of
                                                                        this Order to all Defendants and agencies, including
Thus, any order enjoining the implementation of the                     President Trump, and to Defendants’ employees,
USRAP EO must be nationwide. See Trump v. Hawaii,                       contractors, and grantees by March 7, 2025, at 5:00 p.m.
585 U.S. 667, 751 n.13, 138 S.Ct. 2392, 201 L.Ed.2d 775                 (Pacific Standard Time). Defendants must file a copy of
(2018) (Sotomayor, J., dissenting) (“[T]he imposition of a              the notice on the docket at the same time.
nationwide injunction was ‘necessary to provide complete
relief to the plaintiffs.’ ”) (quoting Madsen v. Women's Health      3. No security bond is required under Federal Rule of Civil
Ctr., Inc., 512 U.S. 753, 765, 114 S.Ct. 2516, 129 L.Ed.2d 593          Procedure 65(c).
(1994)).
                                                                     4. This preliminary injunction will remain in effect pending
                                                                        further orders from this Court.

4. CONCLUSION
                                                                   All Citations
The Court granted Plaintiffs’ Motion for a Preliminary
Injunction, Dkt. No. 14, for the reasons above and ORDERS          --- F.Supp.3d ----, 2025 WL 655075
as follows:

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